            Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 1 of 101
                                                                                        T}.^'01
                                     Tabefh/OjcurcLvier
                                          DeWitt County District Clerk
                                             307 N. Gonzales Street
                                              Cuero, Texas 77954
                                              Phone:(361)275-0931
         Deputies:                            Fax No. (361)275-0934                      Leonides Vasquez
         Esther Ruiz                                                                         Jennifer Gamez
         Jessie Duruisseau                                                                  Chelsea Kirkland
         Rachael Hernandez


                                                                                       RECEIVED IN
                                               October 23, 2017                COURT OF CRIMINAL APPEALS


                                                                                      OCT 2 5 2017
         Court of Criminal Appeals              -. C'C'c.^r.t contains some
         Cap. Station                          .-i thr.t are cf poor quality
         P.O. Box 12308                        o time of imaging.                 Dearia Williamson, Clerk
         Austin, Texas 78711

                                                             IN RE: Cause No. 15-11-12,329-A
                                                                      KIRK ROSS ENGLE
                                                                      VS.
                                                                      THE STATE OF TEXAS



•fv-&,   Dear Sir:


                 Enclosed please find the Clerk's Record on the Application for Writ of Habeas Corpus
         Seeking Relief from Final Felony Conviction Under Code of Criminal Procedure, Article 11.07
         filed by the defendant in the above entitled and numbered cause.

                                                             Sirlcjerely,

                                                             Tabeth Gardner
                                                             DeWitt County District Clerk

                                                             By
                                                                  Deputy

         TMG/lv
         Enclosure

         xc: Mr. Kirk Ross Engle                             Mr. Robert C. Lassmann
             TDCJ# 2051545                                   District Attorney
             Hughes Unit                                     DeWitt County Courthouse
             Rt. 2 Box 4400                                  Cuero, Texas 77954
             Gatesville, Texas 76597
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                              CAUSE NO. 15-11-12,329

THE STATE OF TEXAS                       X                 IN THE 24TH JUDICIAL

VS.                                      X                 DISTRICT COURT OF


KIRK ROSS ENGLE                          X                 DeWITT COUNTY, TEXAS




                             CAUSE NO. 15-11-12,329-A

KIRK ROSS ENGLE                          X                 IN THE 24TH JUDICIAL


VS.                                      X                 DISTRICT COURT OF


THE STATE OF TEXAS                       X                 DeWITT COUNTY, TEXAS
   Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 3 of 101
KIRK ROSS ENGLE                                 APPLICATION FOR WRITOF HABEAS CORPUS

VS.                                             FROM DeWITT COUNTY

THE STATE OF TEXAS                              24TH JUDICIAL DISTRICT COURT

                              TRIAL COURT WRIT NO. 15-11-12,329-A
                                    CLERK'S SUMMARY SHEET

APPLICANT'S NAME: KIRK ROSS ENGLE
(As reflected on the Judgment)

OFFENSE: AGGRAVATED ASSAULT WITH DEADLY WEAPON AND HABITUAL FELONY
OFFENDER
(As described on the Judgment)

CAUSE NO.: 15-11-12.329
(As reflected in Judgment)

SENTENCE: February 11,2016: Defendant found guilty of Aggravated Assault with Deadly Weapon
and Habitual Felony Offender, Defendant sentenced to serve FORTY (40) years in the Texas
Department of Criminal Justice and to pay court costs,
(As described on Judgment)

TRIAL DATE: February 11, 2016
(Date upon which sentence was imposed)

JUDGE'S NAME: Hon. Juergen "Skipper" Koetter
(Judge Presiding at Trial)

APPEAL NO.: 13-16-00270-CR
(If Applicable)

CITATION TO OPINION:               S.W.2d
(If Applicable)

HEARING HELD:             YES _X_ NO
(Pertaining to the Application for Writ)

FINDINGS & CONCLUSIONS FILED:               YES _X_ NO
(Pertaining to the Application for Writ)

RECOMMENDATION:                 GRANT          DENY     NONE
(Trial Court's recommendation regarding Application)
See Order signed by Hon. Kemper Stephen Williams on September 20, 2017

JUDGE'S NAME: Hon. Kemper Stephen Williams
(Judge presiding over habeas proceeding)
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     No. 15-11-l^ JmI                                        (D.A. Recommends Bond as set)
     NAME:                     Kirk Ross Engle
     CHARGE:                   Count I: Agg. Assault Deadly Weapon & Habitual Felon
                   PC 22.02(a)(2) & 12.42, Agg. Felony
                   Count II: Agg. Assault SBI & Habitual Felon
                   PC 22.02 (a)(1) & 12.42, Agg Felony
                   Count III: Assault Against Pubic Servant & Habitual Felon
                   P.C. §22.02(a)(2)(B) & 12.42, Aggravated Felony
     PUNISHMENT RANGE: 25 to 99 years or life TDCJ
     COMPLAINANT:              State of Texas
     DATE:                     August 19,2014
     WITNESSES:                Troy Wilson
     RE-INDICTMENT:            14-11-12,119

     °======               =           TRUE BILL OF INDICTMENT
                  IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:


           THE GRAND JURORS for the DeWitt County, Texas, duly selected, organized,
     impaneled and sworn as such at the July 2015 Term of the District Court of the 24th Judicial
     District, in and for said County, a quorum thereof being present, upontheir oaths present in and
     to said Court that


                                                KIRK ROSS ENGLE


     on or about August 19, 2014, and anterior to the presentment of this Indictment, in DeWitt
     County, Texas, did then and there intentionally and knowingly and recklessly use a deadly
     weapon, to-wit: a knife, that in the manner of its use and intended use, was capable of causing
     death and serious bodily injury, and did then and there intentionally and knowingly and recklessly
     cause bodily injury to BRIAN SMOLIK by stabbing the said BRIAN SMOLIK with said deadly
     weapon;


                                                 COUNT II


    And the Grand Jurors, duly selected, organized, sworn and impaneled as such for DeWitt County,
    Texas, at the July 2015 Term of the 24th Judicial District Court for said County, upon their oaths
    do further present in and to said Court that on or about August 19, 2014, and before the
    presentment of this Indictment, in DeWitt County, Texas, KIRK ROSS ENGLE did then and
    there intentionally and knowingly and recklessly cause serious bodily injury to BRIAN SMOLIK
    by stabbing him with a deadly weapon, to-wit: a knife, that in the manner of its use and intended
    use, was capable of causing death and serious bodily injury;

                                                COUNT III


          And the Grand Jurors, duly selected, organized, sworn and impaneled as such for DeWitt
    County, Texas, at the July 2015 Term of the 24th Judicial District Court for said County, upon
    their oaths do further present in and to said Court that on or about August 19, 2014, and before
    the presentment of this Indictment, in DeWitt County, Texas, KIRK ROSS ENGLE, did then
    and there intentionally and knowingly and recklessly cause bodily injury to BRIAN SMOLIK by
    cutting the said BRIAN SMOLIK with a sharp object;

    And the said KIRK ROSS ENGLE knew that the said BRIAN SMOLIK was a public servant,
    to-wit: a volunteer fireman for the Yorktown Fire Department, and the said offense was
    committed while BRIAN SMOLIK was lawfully discharging an official duty, to-wit: attempting
    to extinguish a fire;



    INDICTMENT:           KIRK ROSS ENGLE.          Page 1



                                                                                                          01
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                                 ENHANCEMENT PARAGRAPHS


           Before the commission of the offense alleged above, hereinafter styled primary offense,,
      KIRK ROSS ENGLE had been finally convicted of the felony offense of retaliation on March 6,
      2000 in Cause No.98-7-9112 in the 24th Judicial District Court of DeWitt County, Texas;

             Before the commission of the primary offense and after the conviction in Cause No. 98-7-
      9112 above was final, the defendant, KIRK ROSS ENGLE, committed the felony offense of
      escape and repeat felony offender and was convicted of the same on February 21, 2008 in Cause
      No. 07-10-10,704 in the 24th Judicial District Court of DeWitt County, Texas;

            Before the commission of the primary offense and after the convictions in Cause No. 98-
      7-9112 above was final, the defendant, KIRK ROSS ENGLE, committed the felony offense of
      driving while intoxicated, 3rd or more offense and was convicted of the same on February 21,
      2008 in Cause No. 07-10-10,703 in the 24th Judicial District Court of DeWitt County, Texas;




      against the peace and dignity of the State.


                                                                   uIk~i                        RLED
                                                                  Grand Jury Foremanst~6^^i~J~ o'cIocIc^-Lm
                                                                                            NOV Q9 2Q15
                        THE FOLLOWING FOR DISTRICT CLERK'S USE ONLY
                                                                                         ™BETH GROWER, Clerk
      OFFENSE:II:I. AGG
                    AGG ASSLT
                        ASSLT DW
                              SBI                                                     By^^^^^Ty'Texas
                                                                                       ~*=*^*^U^y_ Deputy
                 HI: ASSAULT AGAINST PUBIC SERVANT
      OFFENSE CODE: 1:13150005H; II: 13150004 H; III: 13990063 H




      INDICTMENT:       KIRK ROSS ENGLE,            Page 2


                                                                                                               02
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                              NO. 15-11-12,329 & 15-11-12,330

STATE OF TEXAS                                §   IN THE DISTRICT COURT
                                              §
vs.                                           §   24th JUDICIAL DISTRICT
                                              §
KIRK ROSS ENGLE                               §   DEWITT COUNTY, TEXAS


                       DEFENDANT'S ELECTION AS TO PUNISHMENT


TO THE HONORABLE JUDGE OF SAID COURT:


       Now comes Kirk Ross Engle, the Defendant in the above styled and numbered cause,

and, prior to the commencement of voir dire, elects for the Court to assess punishment in the

event of conviction.


                                           Respectfully submitted,

                                          BRENT DORNBURG
                                           120 N. Main St.
                                           VICTORIA, TX 77901
                                          Tel: (361) 570-4444
                                          Fax: (361) 570-4471




                                              Brent Dornburg
                                              State Bar No. 24003930
                                              dornburg@gte.net
                                              Attorney for Kirk Ross Engle

                              CERTIFICATE OF SERVICE


       This is to certify that on February 8, 2016, a true and correct copy of the above and

foregoing document was served on the District Attorney's Office, DeWitt County, by hand

delivery.




                                                                          TABETH GARDNER, Clerr
                                                                       Dist Court. DeWitt County. Texas
                                                                     By.
                                                                                                  Deputy '   [J J
 Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 9 of 101



                                 NO.   15-11-12,329

THE   STATE OF TEXAS                     *             IN THE DISTRICT COURT OF
                                         *


VS.                                      *             DeWITT COUNTY, TEXAS
                                         *


KIRK ROSS ENGLE                          *             24TH JUDICIAL DISTRICT


                                CHARGE   OF THE     COURT


LADIES   AND   GENTLEMEN   OF    THE   JURY:


     The defendant, Kirk Ross Engle, stands charged by indictment
of the offense of aggravated assault,      alleged to have been
committed on or about August 19, 2014 in DeWitt County, Texas.
The defendant has pleaded not guilty.




     Our law provides           that a person        commits an assault if the
person  intentionally           or  knowingly        causes  bodily injury to
another.


      A person commits an aggravated assault if the person commits
an assault, as defined above, and uses or                      exhibits           a    deadly
weapon during the commission of the assault.

                                             II.



     "Bodily injury" means physical                    pain,   illness,               or     any
impairment of physical condition.

     "Serious bodily injury" means a bodily injury that creates a
substantial risk of death, serious permanent disfigurement, or
protracted loss or impairment of the function of any bodily
member or organ.

     "Deadly weapon" means anything that in the manner of its use
or intended use is capable of causing death or serious bodily
injury.

                                             III.


      A person acts intentionally, or with intent/- with jceSjpect to
the nature of his conduct when it is his conscious ^bjecrrve or
                                                                          -^-Li o'clock^pj_M
CHARGE OF THE COURT, Page 1                                    /~ A/FEB/-O>94?01fi

                                                                                3ARDNER, ClSr
                                                                    Dist. Court, DeW!t County, Texas
                                                               By                              DepuTy"
 Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 10 of 101



desire to engage in the conduct.

       A person acts knowingly,               or with knowledge,           with respect to
the   nature       of   his   conduct    when    he   is   aware   of   the    nature   of   his
conduct.


                                                IV.


       Now, if you find from the evidence beyond a reasonable doubt
that or about August 19, 2014, in DeWitt County, Texas, the
defendant, KIRK ROSS ENGLE, did intentionally or knowingly use a
deadly weapon,           to-wit:        a knife,      that in the manner of its use
and intended use was capable of causing death or serious bodily
injury; and did then and there intentionally and knowingly cause
bodily injury to Brian Smolik by stabbing the said Brian Smolik
with said deadly weapon, as alleged in the indictment, you will
find the defendant guilty of aggravated assault, as charged in
the   indictment.


     Unless you so find from the evidence beyond a reasonable
doubt, or if you have a reasonable doubt thereof, you will acquit
the defendant and say by your verdict "Not Guilty".




     It is an affirmative defense to prosecution that, at the
time of the conduct charged, the defendant, as a result of severe
mental disease or defect,    did not know that his conduct was
wrong.   You are instructed that insanity caused                            by involuntary
intoxication   by  prescription  medication  is                            a   defense  to
prosecution for an offense when it is shown that                           the accused has
exercised no independent judgment or volition                               in taking the
intoxicant and, as a result of his intoxication,                           he did not know
that his conduct was wrong.

       Such    a    condition      of   the   defendant     must    have      existed   at   the
very time of the alleged commission of the offense.

     By the term intoxication is meant disturbance of mental or
physical  capacity   resulting from  the  introduction  of  any
substance into the body.

     The burden of proof is upon the defendant to                                prove       this
affirmative defense by preponderance of the evidence.



CHARGE OF THE COURT, Page 2




                                                                                                    05
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       By the term preponderance of the evidence is meant the
greater weight and degree of the credible evidence in this case.

                                          VI.


     Now, if you believe from the evidence beyond a reasonable
doubt that on or about August 19, 2014, in DeWitt County, Texas,
the defendant, KIRK ROSS ENGLE, did then and there intentionally
or knowingly use a deadly weapon, to-wit:   a knife, that in the
manner of its use and intended use was capable of causing death
or serious bodily injury; and did then and there intentionally
and knowingly cause bodily injury to Brian Smolik by stabbing the
said Brian Smolik with said deadly weapon, as alleged in the
indictment,  but  you  further   find from the    evidence by   a
preponderance of the evidence, that at such time the defendant
was involuntarily intoxicated by prescription medication, and
that he exercised no independent judgment or volition in taking
the   intoxicant,       and   that   as    a    result   of    his    intoxication    he
suffered a    severe mental       disease       or   defect   and did not    know that
his conduct was wrong then you will acquit the defendant and say
by your verdict "Not guilty by reason of insanity".


                                          VII.
       All persons are presumed to be innocent and no person may be
convicted     of   an   offense   unless        each   element   of   the   offense   is
proved beyond a reasonable doubt.     The fact that he has been
arrested, confined or indicted for, or otherwise charged with the
offense gives rise to no inference of guilt at his trial.     The
law does not require a defendant to .prove his innocence or
produce any evidence at all.   The presumption of innocence alone
is sufficient to acquit the Defendant, unless the jurors are
satisfied beyond a reasonable doubt of the Defendant's guilt
after careful and impartial consideration of all the evidence in
the   case.


     The prosecution has the burden of proving the Defendant
guilty and it must do so by proving each and every element of the
offense charged beyond a reasonable doubt and if it fails to do
so, you must acquit the Defendant.




CHARGE OF THE COURT, Page 3




                                                                                           06
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                                       VIII.


     You are the exclusive judges of             the facts proved, of the
credibility of the witnesses and the             weight to be given their
testimony,  but the law you shall               receive in these written
instructions, and you must be governed           thereby.

                                        IX.


     After you retire to the jury room, you should select one of
your members as your Foreman.  It is his duty to preside at your
deliberations, vote with you, and when you have unanimously
agreed upon a verdict, to certify to your verdict by using the
appropriate form attached hereto,     and signing the same as
Foreman..


     No one has any authority to communicate with you except the
officer who has you in charge.  During your deliberations in this
case, you must not consider nor mention any personal knowledge or
information you may have about any fact or person connected with
this case which is not shown by the evidence.

        After you have retired,       you may communicate with this Court
in writing through the officer who has you in charge.                Do not
attempt to talk to the officer who has you in charge, or the
attorneys, or the Court, or anyone else concerning any question
you may have.   After you have reached a unanimous verdict, the
Foreman will certify thereto by filling in the appropriate form
attached to this charge and signing his name as Foreman.    After
argument of counsel, you may retire to consider your verdict.

        SIGNED this the       11
                              /|   day of February, 2016.




JUDGE    pr:




CHARGE OF THE COURT, Page 4



                                                                              07
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                                VERDICT    FORM NO.   1


     We, the jury, find the defendant, KIRK ROSS ENGLE, GUILTY of
aggravated assault with a deadly weapon,      as alleged in the
indictment.




4im\A\()k(yiCtR
Foreman oiHthe Jury
                                                                                  FILED
                                                                        _^_. day of     .
                                                                   at—4#A-^4- o'clock.-^M
                                                                           [FEB
                                                                        TAEETH1TARDT
                                                                      Dist. Court, DeWitt County, Texas
                                VERDICT    FORM NO.   2            By                              Deputy


      We,   the   jury,       find   the   defendant,       KIRK   ROSS      ENGLE,         NOT
GUILTY   BY REASON OF     INSANITY.




Foreman of the Jury




                                VERDICT    FORM NO.     3


  We the jury, find the defendant,            KIRK ROSS ENGLE, NOT GUILTY.




Foreman of the Jury




CHARGE OF THE COURT, Page 5




                                                                                                        08
    Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 14 of 101



                                               No.        Kn-U,&q                                            j

The State of Texas                                            §                              In The 24th Judicial
                                                              §
                                                              §                                      District Court
                                                              §
                                                              §                       DEWITT County, Texas

                TRIAL COURT'S CERTIFICATION OF DEFENDANT'S RIGHT OF APPEAL*

           I, judge of the trial court, certify this criminal case:

        is not a plea-bargain case,and the defendant has the right of appeal, [or ]

[ ] is a plea-bargain case, but matters were raised by written motion filed and ruled on before trial and not
           withdrawn or waived, and the defendant has the right of appeal, [or ]

[ ] is a plea-bargain case, but the trial court has given permission to appeal, and the defendanthas the rightof
        appeal. [ or ]

[ ] is a plea-bargain case, and the defendant has NO right of appeal, [or ]
                                                                                                                          FILED
[   ] the defendant has waived the right of appeal.                                                              ._,.day of.            ,
                                                                                                            aIHLOO^_0>dockJ2
                                                                                                                     FEB 11 2016
                                                                                                      gXo j(p
Judge     *W^~                                                        Date Signed      Q
                                                                                               </-
                                                                                                                 TABETH GARDNER, Ctei
                                                                                                                     Jrti ^e^Utt County, 1
1 have received a copy of this certification. 1 have also been informed of my rights concerning
criminal case, including any right to file a pro se petition for discretionary review pursuant to Rule 68 ofthe Texas —^
Rules of Appellate Procedure. I have been admonished that my attorney must mail a copy of the court of appeals's
judgment and opinion to my last known address and that I have only 30 days in which to file a pro se petition for
discretionary review in the Court of Criminal Appeals. TEX, R. APR P. 68.2. 1 acknowledge that, if I wish to appeal
and if I am entitled to do so, it is my duty to inform my appellate attorney, by written communication, of any change in
the address at which I am currently living or any change in my current prison unit. I understand that, because of
appellate deadlines, if I fail to timely inform my appellate attorney of any change in my address, I may lose the
opportunity to file apro se petition for discretionary review.



^
Defendant                                                             /Defendant's Counsel     yj Aj\/&/)2 /)
Mailing address:                                                      State Bar ofTexas ID # j£/tNjO>1 ?U
                                                                      Mailing address: I-4, fJ l/\fbi$
Telephone number:                                                     Telephone number:
Fax number (if any):                                                  Fax number (if any):

* "A defendant in a criminal case has the right of appeal under these rules. The trial court shall enter a certification of
the defendant's right to appeal in every case in which it enters a judgment of guilt or other appealable order. In a plea
bargain case ~ that is, a case in which a defendant's plea was guilty or nolo contendere and the punishment did not
exceed the punishment recommended by the prosecutor and agreed to by the defendant —a defendant may appeal
only: (A) those matters that were raised by written motion filed and ruled on before trial, or (B) after getting the trial
court'spermission to appeal." TEXAS RULE OF APPELLATE PROCEDURE 25.2(a)(2).
                                                                                                         effective 10/17/2011
                                                                                                                                   09
                 Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 15 of 101
                                                          !No. 15-11-12,329                   Count ONtA
                                                         Incident No./trn: 9ii6i40087

 The State of Texas                                                                         In The 24th District


                                                                                            Court

 Kirk Ross Engle                                                               §            DeWitt County, Texas
                                                                               §
 State ID No.: TX04196082

                                        Judgment of Conviction by Jury
                                                                               Date Judgment
 Judge Presiding:          Hon. SKIPPER KOETTER                                                         2/11/2016
                                                                               Entered:

                           MICHAEL SHEPPARD AND                                Attorney for
 Attorney for State:                                                                                   BRENT DORNBURG
                           REID MANNING                                        Defendant:

 Offense for which Defendant Convicted:
 AGGRAVATED ASSAULT WITH DEADLY WEAPON AND HABITUAL FELONY OFFENDER
 Charging Instrument:                                                          Statute for Offense:
 INDICTMENT                                                               *"   22.02(a)(2) and 12.42 Penal Code
 Date of Offense:
 8/19/2014
 Degree of Offense:                                                            Plea to Offense:
 1ST DEGREE FELONY                                                             NOT GUILTY
 Verdict of Jury:                                                              Findings on Deadly Weapon:
 GUILTY                                                                        YES, NOT A FIREARM
 Plea to 1st Enhancement                                              Plea to 2nd Enhancement/Habitual
_^^-agr
   ra graph:                              TRUE                        Paragraph:                                         TRUE
       gs on 1st Enhancement                                          Findings on 2nd
 Paragr
  aragraph:                               TRUE                        Enhancement/Habitual Paragraph:                    TRUE
 Punished Assessed bv:                               Date Sentence Imposed:                               Date Sentence to Commence:
 COURT                                               2/11/2016                                            2/11/2016
 Punishment and Place
 of Confinement:
                                40 YEARS INSTITUTIONAL DIVISION, TDCJ
                                             THIS SENTENCE SHALL RUN CONCURRENTLY.

         I I SENTENCE OF CONFINEMENT SUSPENDED, DEFENDANT PLACED ON COMMUNITY SUPERVISION FOR N/A
 Fine:                                    Court Costs:         Restitution:           Restitution Payable to:
 $N/A                                     $395.00              $N/A                   • VICTIM (see below)            IAGENCY/AGENT (see below)
     XJ Attachment A, Order to Withdraw Funds, is incorporated into thisjudgment and made a part hereof.
 Sex Offender Registration Requirements do not apply to the Defendant. TEX. CODE CRIM. PROC. chapter 62.
 The age ofthevictim at the time ofthe offense was N/A .
                    If Defendant is to serve sentence in TDCJ. enter incarceration periods in chronological order.
                    From         to               From         to                  From       to
 Time               From         to               From         to                  From       to
 Credited:
                    If Defendant is to serve sentence in county iail or is given credit toward fine and costs, enter days credited below.

                    542 DAYS            NOTES: TOWARD INCARCERATION
         All pertinent information, names and assessments indicated above are incorporated into the language of the judgment below by reference.
           This cause was called for trial in            County, Texas. The State appeared by her District Attorney.
           Counsel / Waiver of Counsel (select one)
Ixl Defendantappeared in personwith Counsel.
^•MDefendant knowingly, intelligently, and voluntarily waived the right to representation bycounsel in writing in open court.
^^      It appeared to the Courtthat Defendant was mentally competent and had pleaded as shown above to the charging
 instrument. Both parties announced ready for trial. A jury was selected, impaneled, and sworn. The INDICTMENT was read to the
 jury, and Defendant entered a plea to the charged offense. The Court received the plea and entered it of record.
           The jury heard the evidence submitted and argument of counsel. The Court charged the jury as to its duty to determine the
 guilt or innocence of Defendant, and the jury retired to consider the evidence. Upon returning to open court, the jury delivered its
 verdict in the presence of Defendant and defense counsel, if any.                                                                                 < r\
                  Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 16 of 101
             The Court received the verdict ai^^P_ERED itentered upon the minutes of the {
             Punishment Assessed by Jury /Court / No election (select one)
                                       v/Court
    • Jury. Defendant entered a plea andfiled a written election tohave thejuryassess punishment. The jury heard evidence relative to
    the question ofpunishment. The Court charged the jury and it retired toconsider thequestion ofpunishment. After due deliberation,
    the jury was brought into Court, and, in open court, it returned its verdict as indicatedabove.
•       Court. Defendant elected to have the Court assess punishment. After hearing evidence relative to the question ofpunishment, the
        urt assessed Defendant's punishment as indicated above.
    •    NoElection. Defendant did notfile a written election as towhether thejudge orjuryshould assess punishment. After hearing
    evidence relativeto the question ofpunishment, the Court assessedDefendant'spunishment as indicated above.
            The Court FINDS Defendant committed the above offense and ORDERS, ADJUDGES AND DECREES that Defendant is
    GUILTY of the above offense. The Court FINDS the Presentence Investigation, if so ordered, was done according to the applicable
    provisions of TEX. CODE CRIM. ProC. art. 42.12 § 9.
            The Court ORDERS Defendant punishedas indicated above. The Court ORDERS Defendant to pay all fines, court costs, and
    restitution as indicated above.
             Punishment Options (select one)
    _3 Confinement in State Jail or Institutional Division. The Court ORDERS the authorized agent ofthe State ofTexas or the
    Sheriff ofthis County to take, safely convey, and deliver Defendant to the Director, Institutional Division,TDCJ. The Court
    Orders Defendant to be confined for the period and in the manner indicated above. The Court ORDERS Defendant remandedto the
    custody ofthe Sheriff ofthis county until the Sheriff can obey the directions ofthis sentence. The Court ORDERS that upon release
    from confinement, Defendant proceed immediately to the District Clerk, DeWitt County. Once there, the Court ORDERS Defendant to
    pay, or make arrangements to pay, anyremaining unpaid fines, courtcosts, and restitution as ordered by the Court above.
    • County Jail—Confinement / Confinement in Lieu of Payment. The Court ORDERS Defendant immediately committed to
    the custody ofthe Sheriff of      County, Texas onthe date the sentence is to commence. Defendant shallbeconfined in the
    County Jail for theperiod indicated above. The Court ORDERS that upon release from confinement, Defendant shall proceed
    immediately tothe         . Once there, the Court ORDERS Defendant to pay, or make arrangements to pay, any remaining unpaid
    fines, court costs, and restitution as ordered by the Court above.
    __ Fine OnlyPayment. The punishment assessed against Defendant is for a FINE ONLY. The Court ORDERS Defendant toproceed
    immediately tothe Office ofthe County . Once there, the Court ORDERS Defendant to pay or make arrangements to pay all
    fines and court costs as ordered by the Court in this cause.
             Execution / Suspension of Sentence (select one)
    EE] The Court ORDERS Defendant's sentence EXECUTED.
    • The Court ORDERS Defendant's sentence ofconfinement SUSPENDED. The CourtORDERS Defendant placed on community
    supervision for the adjudged period (above) solong as Defendant abides byand does not violate the termsand conditions of
^Bjhmunity supervision. The order setting forth the terms and conditions of community supervision is incorporated into this
fragment byreference.
       The Court ORDERS that Defendant is given credit noted above on this sentence for the time spent incarcerated.
                            Furthermore, the following special findings or orders apply:
    The Court finds Defendant used or exhibited a deadly weapon, namely a knife, during the commission of a felony
    offense or during immediate flight therefrom or was a party to the offense and knew that a deadly weapon would be
    used or exhibited. Tex. Code Crim. Proc. art. 42.12 section 3g.


    Signed and entered on February 11, 2016
                                                                         X
                                                                         SKIPPER ttflETTER
                                                                         JUDGE PRESIDING

                                                                                                        1he Defendant's print
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                                                                                                        (ordance with Art. 3833
                                                                                                        <f the Code of Criminal
    Clerk: Tabeth Gardner, DeWitt County
                                                                                                        Procedure and appears
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 Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 17 of 101




                               FINGERPRINT EXHIBIT, CCP 42.01, Sec 1(23)




                                          CAUSE NO. 15-11-12,329

THE STATE OF TEXAS                                       IN THE DISTRICT COURT

VS.                                                      24TH JUDICIAL DISTRICT

KIRK ROSS ENGLE                                          DEWITT COUNTY TEXAS




RIGHT THUMB PRINT




Thefingerprint shown is a print of the above named defendant's right thumb taken bythe undersigned in open
court.




By.                                        _Deputy / Bailiff

DEWITT COUNTY, TEXAS



                                                  Exhibit "A"
                                        Fingerprint Exhibit to Judgment


TDCA 2002




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                                        CAUSE NO. 15-11-12329


THE STATE OF TEXAS                                       IN THE DISTRICT COURT


VS.                                                      DeWITT COUNTY, TEXAS


KIRK ROSS ENGLE                                          24TH JUDICIAL DISTRICT
                                            ATTACHMENT A
                                    ORDER TO WITHDRAW FUNDS

TO:      INMATE TRUST ACCOUNT, TEXAS DEPARTMENT OF CRIMINAL JUSTICE
COPY TO:       KIRK ROSS ENGLE


TDCJ#:                      SED#:
GREETINGS:
THE ABOVE named Texas Department of Criminal Justice offender has of this date been assessed
court costs, fees and/or fines and/or restitution in the 24™ District Court of DEWITT County, Texas, in
the above entitled cause in accordance with the sentence imposed as reflected in the judgment to which
this Order is attached. The Court finds that the offender is unable to pay the court costs, fees and/or
fines and/or restitution on this date and that the funds should be withdrawn from the offender's Inmate
Trust Account. Court costs, fees and/or fines and/or restitution have been incurred in the amount of
$ flflsr*
               THE COURT ORDERS that payment be made out of the offender's Inmate Trust
               Account as follows:
                       (1) 15% of the account balance up to and including $100, plus 25% of any
                              portion of the account balance that is between $100.01 and $500 inclusive,
                              plus 50% of any portion of the account balance that is more than $500; or
                       (2) The total amount of court costs, fees and/or fines and/or restitution that
                           remains unpaid.
               After the payment of the initial amount, the offender shall pay an amount equal to the
               lesser of:
                       (1) 10% of each deposit in the offender's Inmate Trust Account; or
                       (2) The total amount of court costs, fees and/or fines and/or restitution that
                           remains unpaid.
               Payments are to continue until the total amount of the court costs, fees and/or fines
               and/or restitution are paid, or the offender is released from confinement.

On receipt of a copy of this Judgment, the department (Inmate Trust Account) shall withdraw money
from the trust accountof the offender, hold same in a separate account, and shall forward said money to
the DEWITT County District Clerk, P.O. Box 845, Cuero, Texas 77954 on the earlier of the following
dates:
                (1) Monthly
                (2) The date the total amount to be forwarded equals the total amount which remains
                    unpaid; or
                (3) The date the offender is released.
                                                                                                     FILED
THIS ORDER is entered and incorporated into the Judgrm           id Sentence ofthis Court and ffiurs^am
to Governmental Code, Section 501.014, on this _\)j_ day         "" -fe____4U___r-j    .flgflHp (Ql-^ciocld'L

                                                                                          Dist. Court, I'cWitt County, Texau ~
                                                                                        -Y—                  v v ._ DesL 3
Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 19 of 101



                                CAUSE NO. frH-ffiZq
   THE STATE OF TEXAS                                                IN THE DISTRICT COURT

   VS.                                                              24TH JUDICIAL DISTRICT

  fllfc €*£/ g^4l£                                                  DeWITT COUNTY, TEXAS


           BEFORE ME, the undersigned authority^ on this day personally appeared the defendant
  in this cause who, after being byme duly sworn, on oath deposes and says as follows: "I have
  been advised by the Court of my right to representation by counsel inthe trial ofthe charge
  pending against me. I certify that I am without means to employ counsel ofmy own choosing
  andI hereby request theCourt to appoint counsel for me. The following information concerning
  my resources is true and correct:

  Total cash on hand or on deposit anywhere:           4
  (A^nmmt/Source):
  Spousal Income:      $
                            ViM*^ *S6 ^Xftfyllt^
  Dependents (# &age's): (p
 Estimate ofreasonable monthly living expenses: lM*0ClLj ,. ftj^/y-^^
  Other property owned
%(list with value):    -


 (Debts (creditor's name, amount owed & payments)

 Further affiant sayeth not."
                                               { 1&^> g_^_2.
                                               Defendant


 SWORN TO AND SUBSCRIBED TO before me by the pbfendant on the ||*^> day of
 SWOEM
                                         1_-

                                                     District Clerk of DeWitt County

                                                     By.
                                                       Deputy

   Ordered ^               LUlJ!hffflt»<£l                         is appointed to represent the

 defendant this the   l(& day of fekL-fflh                                          day of.
                                                                                   o'- 3q_ o'ciock£L_


                                                                                              iARDNER, Cleric
                                                                              Dist. Court, DeWitt County, Texas
         Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 20 of 101
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                                         CAUSE NO. 15-11-12,329
    •
        THE STATE OF TEXAS                            §           IN THE DISTRICT COURT
                                                      §
        VS.                                           §           24th JUDICIAL DISTRICT OF
                                                      §
        KIRK ROSS ENGLE                               §           DEWITT COUNTY, TEXAS



                              DEFENDANT'S MOTION FOR NEW TRIAL

        TO THE HONORABLE JUDGE OF SAID COURT:

                COMES NOW, KIRK ROSS ENGLE, by and through his attorney of record, Luis A.

        Martinez and pursuant to Vernon's Annotated Rules of Appellate Procedure, Rule 21, files this,

        his Motion for New Trial, and would respectfully show the Court the following:


                                                      I.


                Defendant was charged in a multi-count indictment with "Aggravated Assault with a

        Deadly Weapon and Habitual Felony Offender" Defendant pled "NOTGUILTY" and his matter

        was tried before a jury. On, or about, February 11, 2016, after considering the evidence and

        arguments of counsel, the jury convicted Defendant of Count I of the indictment. After a

        sentencing hearing before the Trial Court, Defendant was sentenced by the Trial Court to 40

        years in the Texas Department of Criminal Justice and costs of court. Judgment and sentence

        was imposed on February 11, 2016. Thirty days has not elapsed since the imposition of said

        sentence.


                                                      H.


                Defendant objects and requests a new trial becausethe evidence provided by the State

        was insufficient to support the verdict of guilt in this matter, nor the sentence. D|§"fjngeg)t
                                                                                            day of            r\
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                                                                                             MAR 11 2016 w J5
                                                                                         TABETH GARDNER, Clerk
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 Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 21 of 101




specifically objects to the verdict of guilt and sentence in this matter, because the evidence was

both legally and factually insufficient to supportthe finding of guilt and the sentence. Put simply,

the judgment and sentence in this matter is contrary to the evidence adduced at trial and the law

applicable to this case.

                                                   III.

         Due to the above stated factors, the Defendant's rights as the accused in this case were

jeopardized. Accordingly, the Defendant was not afforded a fair trial and respectfully requests a

new trial.

         WHEREFORE, PREMISES CONSIDERED, Defendant prays this Honorable Court

set this Motion for New Trial for hearing, and after said hearing, that this motion be granted and

the Defendant be given a new trial in this case.


                                      Respectfully submitted,

                                      Luis A. Martinez, P.C.
                                      209 W. Juan Linn
                                      P.O. Box 410
                                      DEWITT, Texas 77902-0410
                                      (361) 676-2750 (Telephone)
                                      (361) 575-8454 (Telecopier)


                                                          ;*#V. U-->-^-r::._.    J>
                                      By:

                                              Luis A. Martinez
                                              State Bar No. 24010213


                                              Attorneyfor Defendant,
                                              Kirk Ross Engle




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                                        CERTIFICATE OF SERVICE

                 By affixing my signature below, I do hereby certify that a true and correct copy of the

        above foregoing MOTION FOR NEW TRIAL delivered electronically on this 11th day of

        February, 2016, to the following:




                                            Luis A. Martinez



        Via Electronic Mail, rclassmann@sbcglobal.net
        Mr. Robert Lassmann
        Asst. District Attorney
        DeWitt County Courthouse
        307 N.Gonzalez
        Cuero, Texas 77954
        Attorneyfor the State on Appeal




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                                    CAUSE NO. 15-11-12,329


THE STATE OF TEXAS                               §             IN THE DISTRICT COURT
                                                 §
VS.                                              §             24th JUDICIAL DISTRICT OF
                                                 §
KIRK ROSS ENGLE                                  §             DEWITT COUNTY, TEXAS


                            DEFENDANT'S NOTICE OF APPEAL


TO THE HONORABLE JUDGE OF SAID COURT:


         COMES NOW, KIRK ROSS ENGLE, by and through his court-appointed attorney of

record, Luis A. Martinez, and files this, his NOTICE OF APPEAL, pursuant to Texas Rules of

Appellate Procedure, Rule 25, and would respectfully show unto the Court the following:


                                                 I.


         Defendant, KIRK ROSS ENGLE, hereby gives written notice of appeal to the Court of

Appeals for the Thirteenth Judicial District of Texas, from the judgment and verdict convicting

him of the above-referenced offense in the trial court, as well as the sentence imposed in the trial

court in the above-referenced and entitled cause of action.


                                      Respectfully submitted,

                                      Luis A. Martinez, P.C.
                                      P.O. Box 410
                                      Victoria, Texas 77902-0410
                                      (361) 575-6764 (Telephone)
                                      (361) 575-8454 (Telecopier)
                                      Email: Lamvictoriacounty@gmail.com


                                      By:
                                                                                      FILED
                                              Luis A. Martinez               —fo-da_>of
                                                                             at     l^-.-to-- o'clock Ok. -M
                                              State Bar No. 24010213

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                                                                                  Dist. Court. DeWitt County, Texas
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 Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 24 of 101




                                CERTIFICATE OF SERVICE


         By affixing my signature below, I do hereby certify that a true and correct copy of the

above foregoing Notice of Appeal was delivered in the manner indicated on this 10th day of

May, 2016, to those parties listed below.



                                            '[A \a.<. ^-r~^

                                     Luis A. Martinez


Via Electronic Mail, rclassmann@sbcgloba.Lnet
Mr. Robert Lassmann
Asst. District Attorney
DeWitt County Courthouse
307 N. Gonzalez
Cuero, Texas 77954
Attorneyfor the State on Appeal




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                                  CAUSE NO. 15-11-12,329


 THE STATE OF TEXAS                                §           IN THE DISTRICT COURT
                                                   §
 VS.                                               §           24thJUDICIAL DISTRICT
                                                   §
 KIRK ROSS ENGLE                                   §           DEWITT COUNTY, TEXAS

             DEFENDANT'S DESIGNATION OF THE CLERK'S RECORD


           COMES NOW, KIRK ROSS ENGLE, by and through his court-appointed

  counsel, LUIS A. MARTINEZ, and files this, his Defendant's Designation of the

  Clerk's Record. See Tex. R. App. Proc. 34.5. The Defendant respectfully requests

  that the Clerk of this Honorable Court make and prepare as a part of the record

  in the appeal of this cause true and correct copies of each of the following matters in

 this cause.


       1. The indictment filed by the State of Texas, on or about, November 9,2015;

       2. The trial court's docket sheet with all notations;

       3. State'sNotice of Experts, filed on,or about, November 13,2015;

       4. Defendant's Motion to Transfer Pleadings;

       5. Order on Defendant's Motion to TransferPleadings;

       6. Waiverof Arraignment filed on, or aboutNovember 19,2015;

       7. Application to Issue Subpoenas filed on, or about February 2,2016;

       8. Motion m Limine filed on, or about, February 8,2016;

       9. Defendant's Election as to Punishment filed on, or about, February 8,2016;
                                                                                        FILED
       10. State's Motion in Limine filed on, or about, February 8,2016; a"t O •<^RZ~^T~T—7T~
       11.Order filed on, or about, February 8,2016;                              JUN 0 8 2016
                                                                                       IGARDNEf, Clerk
    Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 26 of 101


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          12. State's Strike List filed on, or about, February 8,2016;

          13. Defendant's Strike List filed on, or about, February 8,2016;

          14. Juror List filed on, or about, February 8,2016;

          15. Juror Note 1 filed on, or about, February 11,2016;

          16. Juror Note 2 filed on, or about, February 11, 2016;

          17. Juror Note 3 filed on, or about, February 11,2016;

          18. Charge of the Court filed on, or about, February 9,2016;

          19. Trial Court's Certification of Right of Appeal filed on, or about, February

              11,2016;

         20. Judgment of Conviction with Attachment A filedon, or about, February

              19,2016;

         21. Order of Appointmentfiled on, or about, February 19,2016;

          22. Correspondence to Luis Martinezfiled on, or about, February 26,2016;

          23. Defendant's Motion for New Trial filed on, or about, March 11,2016;

          24. Correspondence from Luis A. Martinez re: Notice of Appeal including

              original envelope filed on, or about, May 12,2016;

          25. Notice of Appeal filed on, or about, May 12,2016.

             WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully

      requests that the Clerk of this Honorable Court make and prepare as part of the

      record in the appeal of this cause copies of all the aforementioned designated and

      requested matters and transmit them to the Court of Appeals.




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                                             Respectfully submitted,

                                             Luis A. Martinez, P.C.
                                             209 W. Juan Linn
                                             P.O. Box 410
                                             Victoria, Texas 77902-0410
                                             (361) 676-2750 (Telephone)
                                             (361) 575-8454 (Telecopier)



                                      By:

                                             Luis A. Martinez
                                             State Bar No. 24010213


                                             Attorneyfor Defendant,
                                             Kirk Ross Engle




                             CERTIFICATE OF SERVICE

         By affixing my signature below, I do hereby certify that a true and correct copy

 of the above foregoing was delivered electronically on this 7th day of June, 2016, to the

 following:


                                        ^^pUla^S^-

                                      Luis A. Martinez



 Via Electronic Mail, rclassmann@sbcglobal.net
 Mr. Robert Lassmann
 Asst District Attorney
 DeWitt County Courthouse
 307 N. Gonzalez
 Cuero, Texas 77954
 Attorneyfor the State on Appeal




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                                  CAUSE NO. 15-11-12,329


 THE STATE OF TEXAS                                §           IN THE DISTRICT COURT
                                                   §
 VS.                                               §           24™ JUDICIAL DISTRICT
                                                   §
 KIRK ROSS ENGLE                                   §           DEWITT COUNTY, TEXAS

   DEFENDANT'S DESIGNATION OF SUPPLEMENTAL CLERK'S RECORD

           COMES NOW, KIRK ROSS ENGLE, by and through his court-appointed

  counsel, LUIS A. MARTINEZ, and files this, his Defendant's Designation of

  Supplemental Clerk's Record. See Tex. R. App. Proc. 34.5. The Defendant

  respectfully requests that the Clerk of this Honorable Court make and prepare as a

  part of the record in the appeal of this cause true and correct copies of each of the

  following matters found in Cause No. 14-11-12,119.

       1. The indictment filed by the State of Texas, on or about,November 21,2014;

       2. The trial court's docket sheet with all notations;

       3. Appearance of Counsel filed January 9,2015;

       4. Motion for Continuance filed April 23,2015;

       5. Motion Suggesting Incompetency and Requestfor Examination filed April 23,
          2015;

       6. Order for Incompetency Examination filed April 29, 2015;

       7. Competency Evaluation filed May 20,2015;

       8. Motion to Substitute Counsel filed August 6,2015;

       9. Order on Motion to Substitute Counsel filed August 13,2015;
                                                                                      FILED
       lO.Motion for Continuance filed August 19,2015;                          day of _
                                                                          at \'. IP        o'clockj-Z     M
       11. Order on Motion for Continuance filed September 2,2015;
                                                                                 JUL 0 5 2016
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Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 29 of 101




      12. State's Motion for Disclosure ofNames and Addresses of Defense Expert
           Witnesses filed September 8,2015;

      13. Motion to Strike Expert filed October 5,2015;

     14. Notice of Intent to Raise Insanity Defense filed October6,2015;

     15. Correspondence from Reid Manning to Brent Domberg filed October 13, 2015;

     16. State's Motion for Psychiatric Examination of Defendant for Insanity filed
           October 29,2015;

      17. Order on State's Motion for Psychiatric Examination of Defendant for Insanity
           filed November 2,2015;

     18. Medical Records from Gulf Bend Center concerning Kirk Ross Engle filed
           November 12,2015;

     19. State's Notice of Experts filed November 13,2015;

     20. Medical Records from TDCJ concerning Kirk Ross Engle filed November 13,
           2015;

     21. Insanity Evaluation filed December 31,2015;

     22. Motion to Dismiss filed February 25,2016.

           WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully

  requests that the Clerk of this Honorable Court make and prepare as part of the

  record in the appeal of this cause copies of all the aforementioned designated and

  requested matters and transmit them to the Court of Appeals in the above-captioned

  cause.




                                               Respectfully submitted,

                                               Luis A. Martinez, P.C.
                                               209 W. Juan Linn
                                               P.O. Box 410
                                               Victoria, Texas 77902-0410


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Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 30 of 101



                                              (361) 676-27'50 (Telephone)
                                              (361) 575-8454 (Telecopier)




                                      By:
                                                .^U~-^~
                                              Luis A. Martinez
                                              State Bar No. 24010213

                                              Attorneyfor Defendant,
                                              Kirk Ross Engle




                             CERTIFICATE OF SERVICE


          By affixing my signature below, I do hereby certify that a true and correct copy

 of the above foregoing was delivered electronically on this 30th day of June, 2016, to the

 following:


                                        <.:r2\_4^-^w

                                      Luis A. Martinez



 Via Electronic Mail, rclassmann@sbcglobal.net
 Mr. Robert Lassmann
 Asst. District Attorney
 DeWitt County Courthouse
 307 N.Gonzalez
 Cuero, Texas 77954
 Attorneyfor the State on Appeal




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      THE STATE OF TEXAS                              §           IN THE DISTRICT COURT
                                                      §
     VS.                                              §           24th JUDICIAL DISTRICT
                                                      §
     KIRK ROSS ENGLE                                  §           DEWITT COUNTY, TEXAS

                                              ORDER


              The Defendant, KIRK ROSS ENGLE, by and through his court-appointed

      counsel, LUIS A. MARTINEZ,             having filed a Defendant's Designation of

      Supplemental Clerk's Record. See Tex. R. App. Proc. 34.5, has requested certain

      items that are sensitive in nature and/or sealed and requested that the Trial Court order

      they be made part of the Clerk's Record in the appeal of this cause.

              The Court finds and orders that the DeWitt County District Clerk compile and

     include the following items, that they be made part of the Clerk's Record and filed in the

     Court of Appeals, and marked as sensitive information for purposes of appeal:

           1. Competency Evaluation filed May 20,2015;

           2. Medical Records from Gulf Bend Center concerning Kirk Ross Engle filed
              November 12,2015;

           3. Medical Records from TDCJ concerning Kirk Ross Engle filed November 13,
              2015;

           4. Insanity Evaluation filed December 31,2015;


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     SIGNED THIS                                          2016.




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                                                                                                     &
                                                                             TABETH GARDNER, Clerk
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                                                                      By                              Deputy
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                             NUMBER 13-16-00270-CR

                                COURT OF APPEALS

                     THIRTEENTH DISTRICT OF TEXAS

                        CORPUS CHRISTI - EDINBURG


KIRK ROSS ENGLE,                                                                Appellant,




THE STATE OF TEXAS,                                                             Appellee.


                      On appeal from the 24th District Court
                                of DeWitt County, Texas.


                             MEMORANDUM OPINION

            Before Justices Rodriguez, Contreras,1 and Longoria
                  Memorandum Opinion by Justice Rodriguez
       Appellant Kirk Ross Engle appeals from his conviction foraggravated assault with

a deadly weapon, a first-degree felony, see Tex. Penal Code Ann. § 22.02(a)(2) (West,
Westlaw through 2015 R.S.), with a finding of habitual offender status. See id. § 12.42

       1Justice Dori Contreras, formerly Dori Contreras Garza. See Tex. Fam. Code Ann.^MSIOI et
seq (West, Westlaw through 2015 R.S.).                                aT~t1"". Tr£    o!dock__LZ._M
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(West, Westlaw through 2015 R.S.). By one issue, Engle contends that the trial court

erred when it limited his expert's testimony. We affirm.

                                         I.       Background


       Engle was charged with aggravated assault with a deadly weapon, with
enhancement paragraphs alleging habitual offender status.                    Throughout his jury trial,

Engle did notdispute his role in the aggravated assault with a deadly weapon. He based

his trial strategy on the affirmative defense of involuntary intoxication.2
       Although the jury charge included a definition of involuntary intoxication and an

option of finding Engle not guilty by reason of insanity, the jury found Engle guilty of

aggravated assault with a deadly weapon. The trial court conducted the punishment

hearing and found all three enhancement paragraphs to be true. The court assessed

Engle's punishment at forty years in the Institutional Division of the Texas Department of

Criminal Justice.     Engle appeals from this judgment.

                      II.      Limitation of Defense Expert's Testimony

       In his sole issue, Engle generally complains that the trial court abused its discretion

when it limited the testimony of his expert, Thomas Demoor, M.D., by not allowing him to

testify fully and completely about an element of the involuntary intoxication defense—

specifically whether Engle knew that his conduct was wrong. Engle contends that by

limiting Dr. Demoor's testimony, the trial court stopped him from proving his affirmative

defense.    He claims that his constitutional right to due process was violated because Dr.

Demoor's testimony was "critical to the heart of [his] trial defense."



       2 It is undisputed that Engle notified the State of his intent to raise an insanity defense.
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A.      Standard of Review

        We review a trial court's evidentiary rulings to admit or exclude evidence for an

abuse of discretion.   See Shuffield v. State, 189 S.W.3d 782, 793 (Tex. Crim. App. 2006).

A trial court abuses its discretion when its decision is arbitrary, unreasonable, or without

reference to guiding rules or principles.   See State v. Mechler, 153 S.W.3d 435, 439

(Tex. Crim. App. 2005). This Court examines the trial court's decision in light of what

was before the trial court at the time the decision was made.    See Weatherred v. State,

15 S.W.3d 540, 542 (Tex. Crim. App. 2000).          We will uphold that decision if it is

reasonably supported by the record and correct under any theory of law applicable to the

case.   See Willover v. State, 70 S.W.3d 841, 845 (Tex. Crim. App. 2002).

B.      Applicable Law

        Section 8.01 of the Texas Penal Code, which encompasses the defense of insanity

due to involuntary intoxication, provides that "it is an affirmative defense to prosecution

that, at the time of the conduct charged, the actor, as a result of severe mental disease

or defect, did not know that his conduct was wrong."      Tex. Penal Code Ann. § 8.01(a)

(West, Westlaw through R.S. 2015); Mendenhallv. State, 77S.W.3d 815, 818 (Tex. Crim.

App. 2002). The elements needed to establish an involuntary intoxication affirmative

defense include:   (1) the accused exercised no independent judgment or volition in taking

the intoxicant; and (2) as a result of a severe mental disease or defect caused by the

involuntary intoxicant, the accused did not know that his conduct was wrong.

Mendenhall, 77 S.W.3d at818; see Farmerv. State, 411 S.W.3d 901, 911-12 (Tex. Crim.

App. 2013) (Cochran, J., concurring); Torres v. State, 585 S.W.2d 746, 749 (Tex. Crim.




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App. 1979); see also Tex. Penal Code Ann. § 8.01(a). "Involuntary intoxication by

prescription medicine occurs only when the person has no knowledge that the medicine

has possibly intoxicating side effects." Woodman v. State, 491 S.W.3d 424, 429 (Tex.

App—Houston [14 Dist.], 2016, pet. ref'd) (citing Mendenhall v. State, 15 S.W.3d 560,

565-66 (Tex. App.—Waco 2000), aff'd, 77 S.W.3d 815 (Tex. Crim. App. 2002)); Nelson

v. State, 140 S.W.3d 206, 210 (Tex. App.—Fort Worth 2004, no pet).

C.    Analysis

       1.     The Trial Court Properly Sustained the State's State-of-Mind
              Objection

       Engle first contends that the trial court abused its discretion when it did not allow

Dr. Demoor to opine that Engle "was not able to appreciate rightfrom wrong because of

involuntary intoxication."   On direct examination, Dr. Demoor provided the following

testimony relevant to the State's objection that Dr. Demoor disqualified himself from

testifying regarding Engle's state of mind:

       Q.     Can you tell this jury what procedures you go through in examining
              someone to determine their legal sanity at the time they committed a
              crime.


       A.     Well, legal sanity is a very narrowly defined topic and what some
              people are used to hearing is called not guilty by reason of insanity,
              that might be more familiar to what you've heard. And for somebody
              to be not guilty by reason of insanity they have to have such severe
              mental illness that they can no longer tell right from wrong. And it's
              very few people that are so severely mentally ill that they can't tell
              right from wrong. To evaluate for that you're trying to assess what
              actions they did and whether a mental illness caused them to not
              realize that the actions they did were wrong.

       Q.     Did you conduct such an examination on Mr. Engle?

       A.     You know, technically I did not because we were not looking at

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          criminal insanity. I didn't see any evidence to support not guilty by
          reason of insanity. I wasn't looking for that. I was looking for what
          we thought of as involuntary intoxication..



     Q.   Okay. You had mentioned that you didn't know the straight insanity
          but then you started to mention involuntary intoxication.

     A.   Well, that was the question that I was evaluating, yes.

     Q.   And I think when you reported was insanity, too, for voluntary
          intoxication?

          THE REPORTER:          I'm sorry.   Would you start again.

     Q.   Was it your understanding through to involuntary intoxication?

     A.   I didn't use the term insanity, I did believe he suffered from
          involuntary intoxication due to his medication and that led to a manic
          state that caused his aggressive outburst.

     Q.   And did it lead to a state where he didn't know what he was doing
          was wrong?

          [THE STATE]:        I object, Your Honor.     The witness has already
          testified he did not evaluate for that.

          THE COURT:       Sustained.

     A.   Can I revise?      I mean ... I looked at the records, I talked to the
          individual.   I didn't know—I didn't notice that he didn't know it was
          wrong or whether it was wrong or right, I didn't—I didn't ask that
          question. He had amnesia for the event so I couldn't really ask what
          his state of mind was at the time of the event.




          THE COURT:             We're going to break for lunch.   I'm going to ask
          that you be back in the jury room, ready to proceed, at 1:25. We'll
          be in recess until then.


          (Jury recessed.)




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          THE COURT:            My understanding ... is this is a two-prong test.
          One is was he involuntarily intoxicated and as a result of that
          involuntary intoxication did he lose an awareness of right and wrong,
          so this doctor has testified that he didn't evaluate him for losing an
          awareness of right and wrong. So he can talk about involuntary
          intoxication but he has very eloquently and honestly said 1 didn't
          evaluate him for whether he knew what he was doing was right or
          wrong. So I can't—we can't go off into that. I want to make sure
          you understand that. He can no longer testify about whether or not
          Mr. Engle knew what he was doing and knew whether it was right or
          wrong.     He can talk about whether he was involuntarily
          intoxicated. ... But that's where I think we are in the evidence at this
          point, so I just want to make sure that everybody understood where
          I think we are and that my rulings1 are going to be based on that
          understanding of what the doctor has told me, that he didn't evaluate
          him for whether or not he was aware of the right or wrong nature of
          his actions.




          (Open court, defendant and jury present.)

          THE COURT:            You may be seated. .. .

     Q.   Doctor, do you remember when we left off you had mentioned
          involuntary intoxication; is that correct?

     A.   Yes.


     Q.   What exactly is involuntary intoxication?

     A.   In this context involuntary means that he didn't have a choice to
          refuse to take a substance.      Intoxication means that a substance
          altered his emotional and mental well-being.

     Q.   And did you see evidence of that in this situation with Mr. Engle?

     A.   Yes.

     Q.   Now, back to—you said that you didn't see any evidence of insanity
          in this case, correct?

     A.   Well, that I didn't evaluate him specifically.




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      Q.      Okay. And why was that?

      A.      Because he told me he didn't remember the event and I couldn't
              evaluate his state of mind at the time of the event.

      Q.      So because he had amnesiatic [sic] about it....

      A.      He testified—he said he had blackouts, which we use the term
              amnesia.

      Q.      So you reviewed other things in relation to this case, though?

      A.      Yes.

      Q.      What all did you review?    Offense reports?

      A.      I reviewed his medical records from the MHMR in Victoria. I
              reviewed the witness statements from the assault, I guess offense
              reports. I did review [the State's expert's] reports. There might be
              a few other things.



              [DEFENSE]:            Pass the witness.

       Examining the trial court's decision in light ofwhat was before the trial court at the
time the decision was made, see Weatherred, 15 S.W.3d at 542, we cannot conclude that

the trial court's decision to sustain the State's objection regarding state-of-mind testimony

was arbitrary, unreasonable, or without reference to guiding rules or principles. See
Mechler, 153 S.W.3d at 439. Clearly, Dr. Demoor testified that he did. not evaluate

Engle's state of mind at the time of the event. Dr. Demoor explained that he could not
testify regarding Engle's state of mind because Engle told him that he "didn't remember
the event." It is apparent that the trial court understood that this testimony related to

insanity due to a mental disease or defect or to insanity due to the involuntary intoxicant
that caused the severe mental disease or defect.        See Mendenhall, 77 S.W.3d at 818;

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see also Tex. Penal Code Ann. § 8.01 (a). Based on Dr. Demoor's explicittestimony, the

trial court sustained the State's objection that this expert had already testified he did not

evaluate Engle for whether he knew that his conduct was wrong. See Mendenhall, 77

S.W.3d at 818. The trial court's decision to exclude any state-of-mind testimony from Dr.

Demoor is reasonably supported by the record, especially in light of the expert's

unequivocal testimony that Kyle "didn't remember the event" so he "couldn't evaluate his

state of mind," and the trial court's reasoning as expressed to counsel outside the

presence of the jury. See Willover, 70 S.W.3d at 845. The decision is correct based on

a theory of law related to the admissibility of evidence. See id. We conclude that the

trial court did not abuse its discretion in excluding Dr. Demoor's opinion testimony

regarding Engle's state of mind. See Shuffield, 189 S.W.3d at 793.3

        2.      The Trial Court Did Not Rule on the State's Relevancy Objection

        Engle also asserts that the trial court erred in sustaining the State's relevancy

objection to the following testimony provided by Dr. Demoor during his direct examination:

        Q.       Are you familiar with Lexapro?

        A.       Yes.


        Q.       What is Lexapro prescribed for?

        A.       It's prescribed for depression and anxiety.

        Q.       Was this a proper case to prescribe Lexapro for?

         3 The State also objected to the following question Engle asked of Dr. Demoor: "And you said you
didn't see any evidence of insanity because you couldn't talk to him directly about it. Were there other
indications, though, that there's a possibility or probability that he could have been insane at the time of the
alleged offense?" The trial court sustained the State's objection that Dr. Demoor had "already testified he
did not evaluate for that." On appeal, Engle does not argue the appropriateness of the State's objection
to his question regarding "other indications .. . that he could have been insane" and does not challenge the
trial court's ruling on this objection. So we do not address it. See Tex. R. App. P. 47.1.

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       A.     It's a debatable question. Lexapro is not approved for use in bipolar
              depression and in my opinion Mr. Engle suffers from bipolar disorder,
              as was the opinion of the doctor at MHMR, Dr. Dotter.
              Antidepressants are used at times in bipolar depression but they
              have to be [used] very cautiously, with very clear instructions to
              monitor for increasing agitation or irritability or aggression and to
               notify the doctor or to stop the medicine if that happens. That's my
               experience of using that type of medicine for bipolar depression.

       Q.     And so in using it for bipolar depression, in reviewing the—what all
               did you review in looking at... .

              [THE STATE]:          Your Honor, I'm going to object. I don't
              think it's relevant. The only relevance of this witness's
              testimony has to do with the analysis for the issue of insanity,
              not for bipolar depression.

       Although Engle contends that the trial court sustained the State's relevancy

objection, we find nowhere in the record where the court expressly or impliedly adversely

ruled on this objection. See Tex. R. App. P. 33.1; see also Tex. R. Evid. 401. After the

State objected, the trial court excused the jury and addressed the State's challenge to Dr.

Demoor state-of-mind testimony.         Defense counsel simply chose not to continue

questioning Dr. Demoor about the prescription medicine. So Engle has no basis for his

complaint that "he was stopped from proving how Lexapro affects sufferers of bipolar

disorder."   See Tex. R. App. P. 33.1 (a).

       3.      Determination

       Having concluded that the trial court properly sustained the State's state-of-mind

objection and that Engle has no basis for a complaint about the State's relevancy

objection, we overrule Engle's sole appellate issue.




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                                 Conclusion


      We affirm.

                                                 NELDA V.RODRIGUEZ
                                                 Justice


Do not publish.
Tex. R. App. P. 47.2(b).

Delivered and filed the
19th day of January, 2017.




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                   THE THIRTEENTH COURT OF APPEALS


                                    13-16-00270-CR



                                    Kirk Ross Engle
                                           v.

                                  The State of Texas



                                   On appeal from the
                     24th District Court of De Witt County, Texas
                             Trial Cause No. 15-11-12,329


                                     JUDGMENT


      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes that the judgment of the trial court should be AFFIRMED. The Court

orders the judgment of the trial court AFFIRMED.

      We further order this decision certified below for observance.

January 19, 2017



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                                                                                      FILE COPY



                                     MANDATE

TO THE 24TH DISTRICT COURT of DEWITT COUNTY, GREETINGS:

Before our Court of Appeals for the Thirteenth District of Texas, on the 19th day of
January, 2017, the cause upon appeal to revise or reverse your judgment between

Kirk Ross Engle,                                                                     Appellant,


The State of Texas,                                                                   Appellee.
CAUSE NO. 13-16-00270-CR                                        (Tr.Ct.No. 15-11-12,329)

was determined; and therein our said Court made its order in these words:


      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes that the judgment of the trial court should be AFFIRMED. The Court

orders the judgment of the trial court AFFIRMED.

      We further order this decision certified below for observance.



                                 •   ••••••


WHEREFORE, WE COMMAND YOU to observe the order of our said Court of Appeals
for the Thirteenth District of Texas, in this behalf, and in all things have it duly
recognized, obeyed and executed.

WITNESS, the Hon. Rogelio Valdez, Chief Justice of our Court of Appeals, with the seal
thereof affixed, at the City of Edinburg, Texas this 22nd day of June, 2017.




I                                            Dorian E. Ramirez, CLERK



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                                                                                     Nov. 9, 2015 Case set for arraignment
                                                                                    December 3, 2015.
                                                                                 j Nov. 12,2015 Defendant's attorney
                                                                             j       present. Order ofReset signed setting case
                                                                                     on the plea docket December 3, 2015 and
                                                                                     for trial December 7, 2015. KSW-Norrell
                                                                                      Nov. 13, 2015 Carry over bond, so
                                                                                      ordered. KSW
                                                                                     Nov. 19, 2015. Waiver of Arraignment
                                                                                     signed. Order signed on Kirk Ross Engle's Motion
                                                                                     to Transfer Pleadings and Court Reporter's
                                                                                     Notes granted. KSW
                                                                                       Dec. 3, 2015 Defendant's attorney
                                                                                       present. Order of Reset signed setting
                                                                                       case on the motion docket January 20,
                                                                                       2016 and for trial February 8, 2016.
                                                                                       JPK-Gabrysch
State of Texas

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      Jan. 20, 2016 Defendant's attorney present.
      Case set previously. JSK-Miori        -n
    Feb. 8, 2016 Defendant and his attorneypresent. Pre-Trialmotions heard. The Court
    ruledas per record. The Jury panel seated, swornand qualified. Voir dire began. Voir
    dire completed. Jury seated. The Courtthanked and released the remainingJurypanel.
    The Court read instructions to the Jury. Jury sworn and released until 9:00 a.m. on
    February 9, 2016. JSK-Miori

    Feb. 9, 2016 Defendant and his attorney present. The Jury seated. The State read the
    Indictment. The Defendant entered a plea of Not Guilty to all Counts in the Indictment.
    TheState made opening statements. Witnesses presented. Courtin recess until 9:00a.m.
    February 10, 2016. JSK-Miori

    Feb. 10,2016 Defendant and his attorneypresent. The Jury seated. The State rested.
    Defense made opening statements. Witnesses presented. StateandDefense rest and
    close. Court in recess until 9:00 a.m. on February 11, 2016. JSK-Miori

    Feb. 11,2016 Defendant and his attorneypresent. The Jury seated. The Court reads the
    Charge of the Court. Closingstatements given. The Jury retiredto deliberate at 10:06
    a.m. TheJury returned with verdict at 10:50 a.m. "We,thejury, find the defendant,
    KIRKROSS ENGLE, GUILTY of aggravated assault with a deadly weapon, as alleged
r   in the indictment." TiffanyChandler, Foreman of the Jury. The Courtthankedand
    released the Jury. The State read theenhancement paragraphs. TheDefendant entered a                                   %•
    pleaof True to paragraphs. The State presented evidence. Staterested. Defense
    presented witnesses. Stateand Defense rest andclose. The Courtassessed andsentenced                                                                 A.   L
    the Defendantto FORTY (40) years in the Texas Departmentof Criminal Justice.
    Finding the use of a deadlyweaponknife. The Courtadvised Defendant of his right to
    appeal. Trial Court's Certificationof Defendant's Right of Appeal signed. Attachment
    A Order to Withdraw Funds attached to Judgment. JSK-Miori

      Feb. 11, 2016 Order signed appointing
      Luis Martinez to represent the defendant
      on appeal signed. JSK
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                 March 11, 2016 Defendant's Motion
                 for New Trial filed.

                 May 12, 2016 Defendant's Notice of Apppeal
                 filed.



                June 8, 2016 Clerk's Record filed electronically
                with the 13th Court of Appeals.

                 July 20, 2016 Order on Defendant's Designation
                 of Supplemental Clerk's Record signed. KSW
                July 21, 2016 Supplemental Clerk's Record
                filed electronically with the 13th Court of
                Appeals.
                 July 21, 2016 Second Supplemental Clerk's
                 Record filed electronically with the 13th Court of
                 Appeals.
                 July 21, 2016 Third Supplemental Clerk's
                 Record filed electronically with the
                 13th Court of Appeals.
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State of Texas




           Date of Orders                                                Minute Book
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            January 19, 2017 The Judgment ot the
            trial court AFFIRMED. Judgment and                                                     /•""'""\---'
            Memorandum Opinion filed.


            June 22, 2017 The Judgment of the
            trial court AFFIF
            Mandate filed.




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District Clerk
DeWitt County
307 N. Gonzales St.
Cuero,TX.77954
                              September 18,2017

RE: The State of Texas
    v.

    Kirk Ross Engle
    Cause No.15-11-12,329 in the 24th Judicial District Court of DeWitt County

Dear, Clerk:

  Enclosed, please find an ordiginal copy of Mr. Engle's Art.11*07 Application
for Writ of Habeas Corpus with reference to Cause No. 15-11-12,329.
  Also attached to the Writ are Applicant's (1) motion requesting that the
record be attached, (2) the Thirteenth Court of Appeals Memorandum Opinion,

and (3) Applicant's Memorandum of Law.
 Please file, date, and stamp these document's. Thank you for your
courtesies regarding this matter. My information is as follows.

Kirk Ross Engle
Hughes Unit
Rt.2 Box 4400
Gatesville,TX.76597                          ^..,,..._.        •_.„____
United States

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                                   CaseNo.i_5rlH2UM_1
                     (The Clerk of the convicting court will fill this line in.)


                  IN THE COURT OF CRIMINAL APPEALS OF TEXAS

                 APPLICATION FOR A WRIT OF HABEAS CORPUS
               SEEKING RELIEF FROM FINAL FELONY CONVICTION
              UNDER CODE OF CRIMINAL PROCEDURE, ARTICLE 11.07


NAME:        Kirk Ross Engle

DATE OF BERTH:            11-30-1970


PLACE OF CONFINEMENT: Hughes Unit
                             2051545                                        04196082
TDCJ-CH) NUMBER:                                      SD3 NUMBER:


(1)    This application concerns (check all that apply):

       ^_f a conviction                       •       parole

       S     a sentence                       •       mandatory supervision

       •     time credit                      •       out-of-time appeal or petition for
                                                      discretionary review


(2)    What district court entered the judgment of the conviction you want relief from?
       (Include the court number and county.)

           In The 24th Judicial District Court of DeWitt County, Texas


(3)    What was the case number in the trial court?

           15-11-12,329

(4)    What was the name of the trial judge?

           Hon. Joergen "Skipper" Koetter




                                                           at-     :f£akI'dock-j-L
Effective: January 1. 2014                                          SEP 18 2017
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(5)    Were you represented by counsel? If yes, provide the attorney's name:

         Brent Dornburg



(6)    What was the date that the judgment was entered?

        February 11,2016



(7)    For what offense were you convicted and what was the sentence?


        Aggravated Assault with a Deadly Weapon (40) years


(8)    If you were sentenced on more than one count of an indictment in the same court at
       the same time, what counts were you convicted of and what was the sentence in each
       court?


                  N/A


                   N/A


(9)    What was the plea you entered? (Check one.)

           • guilty-open plea              • guilty-plea bargain
           S not guilty                    • nolo contendere/no contest
       If you entered different pleas to counts in a multi-count indictment, please explain:
            N/A


             N/A


(10)   What kind of trial did you have?

           D no jury                       • jury for guilt and punishment
                                           __ jury for guilt, judge for punishment




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(11)     Did you testify at trial? If yes, at what phase of the trial did you testify?


           Innocence/Guilt


(12)    Did you appeal from the judgment of conviction?

       • L5 yes                               D no


        If you did appeal, answer the following questions:

        (A) What court of appeals did you appeal to?          13th Court of Appeals
        (B) What was the case number?             13-16-00270-CR
        (C) Were you represented by counsel on appeal? If yes, provide the attorney's
             name:


                   Luis A. Martinez


        (D) What was the decision and the date ofthe decision?          Affirm 1-19-2017
(13)    Did you file a petition for descretionary review in the Court of Criminal Appeals?

        0 yes                                 • no

        If you did file a petition for discretionary review, answer the following questions:

        (A) What was the case number?            PD-0191-17
        (B) What was the decision and the date of the decision?          Refused 5-24-2017


(14)    Have you previously filed an application for a writ of habeas corpus under Article
        11.07 of the Texas Code of Criminal Procedure challenging this conviction?

        D yes                                 __l no

        If you answered yes, answer the following questions:

        (A) What was theCourtofCriminal Appeals' writ number? N/A




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       (B) What was thedecision and the date ot the decision?       "/A

       (C) Please identify the reason that the current claims were not presented and could
            not have been presented on your previous application.


                         N/A



                         N/A


                         N/A



                         N/A


(15)   Do you currently have any petition or appeal pending in any other state or federal
       court?


       • yes                               B no

       If you answered yes, please provide the name of the court and the case number:


                N/A

(16)   If you are presenting a claim for time credit, have you exhausted your
       administrative remedies by presenting your claim to the time credit resolution
       system of the Texas Department of Criminal Justice? (This requirement applies to
       any final felony conviction, including state jail felonies)

       • yes                               • no

       If you answered yes, answer the following questions:

       (A) What date did you present the claim?           '

       (B) Did you recieve a decision and, if yes, what was the date of the decision?


                N/A

       If you answered no, please explain why you have not submitted your claim:




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                   N/A

                   N/A


                  N/A



                  N/A


                  N/A


(17)   Beginning on page 6, state concisely every legal ground for your claim that you are
       being unlawfully restrained, and then briefly summarize the facts supporting each
       ground. You must present each ground on the form application and a brief
       summary of the facts. Ifyour grounds and briefsummaryofthefacts have not been
       presented on theform application, the Court will not consider your grounds.
       If you have more than four grounds, use pages 14 and 15 of the form, which you
       may copy as many times as needed to give you a separate page for each ground, with
       each ground numbered in sequence. The recitation of the facts supporting each
       ground must be no longer than the two pages provided for the ground in the form.

       You may include with the form a memorandum of law if you want to present legal
       authorities, but the Court will not consider grounds for relief set out in a
       memorandum of law that were not raised on the form. The citations and argument
       must be in a memorandum that compUes with Texas Rule ofAppellate Procedure 73
       and does not exceed 15,000 words if computer-generated or 50 pages if not. If you
       are challenging the validity of your conviction, please include a summary of the facts
       pertaining to your offense and trial in your memorandum.




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GROUND ONE:

INEFFECTIVE ASSISTANCE OF COUNSEL



6TH & 14TH AMENDMENT OF THE UNITED STATES CONSTITUTION


FACTS SUPPORTING GROUND ONE:

  Applicant was denied the effective assistance of counsel during trial
because counsel failed to object to the prosecutor's egregious acts of
misconduct. See (3 R.R.91)(4 R.R.86-88) & (5 R.R.29). The record in this
case will reflect that a state's witness [Texas Ranger Troy Wilson]
commented on the Applicant's post-arrest silence in violation of the
Applicant's right to remain silent, id. The prosecutor made repeated
references~to the Applicant's post-arrest silence, id. A defendant has a
Constitutional right to remain silent, and under Griffin v. California, 380
U.S. 609 (1965): A prosecutor is prohibited from commenting on the accussed's
post-arrest silence. Id. at 615. The record is clear of this Constitutional
right being violated, id. The prosecutor was allowed to use evidence of the
Applicant's silence during his trial, id. This was some of the evidence
that was used to help convict the Applicant, id. Counsel set silent as the
prosecutor made repeated references to the Applicant's post-arrest silence,
id. In this case, defense counsel's inaction's allowed the jury to equate
the Applicant's silence with guilt, id. The prosecutor used the Applicant's
silence to rebut his sole defense of insanity, id. There is no reasonable

tactical basis not to object to these comments, icj. On the contrary, a
motion for a mistrial would have been appropriate and should have been made.
id. The failure to object to these improper and prejudicial statements
constitutes ineffective assistance of counsel. See Strickland v. Washington,
104 S.Ct. 2052 (1984). See also Applicant's memorandum of law attached hereto
for all purposes.




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GROUND TWO:

APPLICANT WAS DENIED HIS CONSTITUTIONAL RIGHT TO A FUNDAMENTALLY FAIR TRIAL


14TH AMENDMENT OF THE UNITED STATES CONSTITUTION


FACTS SUPPORTING GROUND TWO:

  The trial court deprived the Applicant of the opportunity to present a
complete defense. See (4 R.R.126). Due process includes a right to a
meaningful opportunity to present a complete defense. In this case, it is
clear that the trial court limited Dr. Demoor's testimony, id. Such
testimony was relevant because it provided background and contextual
information that would have been useful and helpful:to the jury in
assessing the relative credibility of Applicant's testimony (4 R.R.16-103)
Nancy Hoesk's testimony (4 R.R.103-110) & Lupe Garcis's testimony
(4 R.R.110-119). The excluded testimony was critical to the defense since
defense counsel failed to contest the state's witnesses in regards to the
incident. It is also undisputed that the Applicant was pursuing an
insanity defense. In this case, the trial court did not act with respect to
any guiding rule or principle in limiting and essentially keeping Applicant's
expert wilness from testifying fully and completely as to both prongs of the
involuntary intoxication defense. See (4 R.R.125). In fact, the trial judge
did not focus on the probative value or the potential adverse effects of
limiting the defense expert witness testimony, id. Thus, the ruling
limiting Applicant's expert witness from testifying to his mental state
was erroneous, and was also reversible error due to a state's evidence
rule which was applied in a manner which infringed upon a weighty interest
of the accussed [hence] his Constitutional right to present a defense. In
this case, the trial court prevented Applicant from presenting his version
of the facts to the jury. id. Applicant will contend that the trial court
violated his right to put on a complete defense when it limited his expert
testimony, id. Applicant was thus denied a substantial defense, id. The




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Constitution Guarantees criminal defendant's a meaningful opportunity to
present a complete defense. See Crane, supra, at 690, 106 S.Ct. 2141 (1984).
The 13th Court of Appeals decision to deny Applicant's direct appeal
concerning this issue was unreasonable in light of the facts of this case.
The 13th Court of Appeals allowed the trial court to mechanistically apply
a state's evidence rule in a manner which was arbitrary or disproportionate
to the purposes it was designed to serve. The 13th Court of Appeals
decision is also contrary to clearly established federal law. See
Chambers v. Mississippi, 93 S.Ct. 1038 (1973). Finally, this Constitutional
violation was not harmless beyond a reasonable doubt, and that the ruling
limiting the defense expert testimony did affect the judgment in a
significant way. See Applicant's memorandum of law attached hereto for all
purposes. See also the 13th Court of Appeals memorandum opinion attached
hereto as well.




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GROUND THREE:

INEFFECTIVE ASSISTANCE OF COUNSEL


6TH A 14TH AMENDMENT OF THE UNITED STATES CONSTITUTION


FACTS SUPPORTING GROUND THREE:

  Applicant was denied the effective assistance of counsel due to the
state prosecutor's obstructive tactics. See (4 R.R.123) & (4 R.R.124-125).
In this case, the state prosecutor impeded defense counsel's attempt to
conduct a virgorous defense of not guilty by reason of insanity for his
client, id. The state prosecutor made two objection's that interfered
with defense counsel's representation of his client, id. The trial court
sustained both objection's, id. The state prosecutor in this case felt
that the Applicant was not worthy of the protracted efforts that his lawyer
was making for him, so it made repeated objection's to each and every
question, as well as to each and every answer in response to those questions,
id. It is not right that the prosecutor should be able to prevent a defense

attorney from being able to defend his client against the state's
accusations and say, "sure we impeded your defense-now prove it made a
difference." It is enought that the prosecutor was able to use the trial
court to prevent defense counsel from conducting a virgorous defense, id.
The 13th Court of Appeals made clear in it's opinion that the Applicant did
not argue on direct appeal, the appropriateness of the state's objection
to his question regarding other indications that he could have been
insane. See the 13th Court of Appeals memorandum opinion attached hereto
[page 8 (footnote)]. It is the Applicant's contention that the prosecutor
in this case went so far as to impede his defense counsel's ability to
defend him effectively simply because the state prosecutor felt he was
guilty of the crime, and that he was not worthy of effective assistance of
counsel. No matter how guilty the prosecutor thinks the defendant was, he
was in this case, entitled to a better procedure than the one he received.



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In the present case, the circumstances surrounding defense counsel's
representation of Applicant-the state prosecutor's repeated objection's-
prevented defense counsel from assisting Applicant during a critical
stage of the proceeding. See Cronic, 466 U.S. at 659 (1984). Under
those circumstances, although counsel was available to assist Applicant,

the likelihood that any lawyer, even a fully competent one as Applicant's
was here, could provided effective assistance was so small that a

presumption of prejudice is appropriate without inquiry into the actual
conduct of the trial. Id. at 659-60, 104 S.Ct. at 2047 (1984). See

Applicant's memorandum of law attached hereto for all purposes.




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GROUND FOUR:

INEFFECTIVE ASSISTANCE OF •Ar^SltATE COUNSEL


6TH & 14TH AMENDMENT OF THE UNITED STATES CONSTITUTION


FACTS SUPPORTING GROUND FOUR:

  Applicant will assert that his counsel on direct appeal was ineffective
for failing to raise on direct appeal four improper comments on his
exercise of his Fifth Amendment right to remain silent: The first comment
by Texas Ranger Troy Wilson, the second comment was also by Texas Ranger
Troy Wilson, the third by the prosecutor, and the fourth was also by the
prosecutor during closing argument. See all of these improper comments
(3 R.R.91)(4 R.R.86-88) & (5 R.R.29). The testimony by Texas Ranger Troy
Wilson regarding Applicant's post-arrest silence which the prosecutor
elicited and the prosecutor's closing argument are impermissible comments
on Applicant's post-arrest silence, id. Finally, in his closing argument,
the prosecutor himself commented on Applicant's silence, and linked
Applicant's desire to remain silent to his insanity defense, arguing that
he understood what he was doing, id. While this use of Applicant's
silence clearly violated the due process clause of the Fourteenth
Amendment, see Doyle v. Ohio, 96 S.Ct. 2240 (1976), such a constitutional
violation is subject to the harmless error rule. It is Applicant's
contention that his appellate counsel's failure to raise the Fifth
Amendment issue causes his performance to fall below that wide range of
competence required of attorney's in criminal cases. These improper
comments were obvious on the record, and must have leaped out upon even
a casual reading of the transcript. There can be no reasonable tactical
basis not to have raised this.-. "Dead-Bang-Winner" on direct appeal. The
Fifth Amendment issue was significant and would have been apparent to a
reasonably competent appellate attorney. Therefore, Applicant contends
that his appellate attorney's performance was constitutionally deficient



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for not raising such a claim. See Strickland v. Washington, 104 S.Ct. 2052
(1984). Counsel's deficient performance also was prejudicial to Applicant's
direct appeal. See Evitts v. Lucey, 105 S.Ct. 830 (1985). There is a
reasonable probability of a different outcome had counsel raised the
Fifth Amendment issue. A new trial would have been granted due to the
constitutional violation. See Applicant's memorandum of law attached
hereto for all purposes.




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GROUND: FIVE

INEFFECTIVE ASSISTANCE OF APPELLATE COUNSEL


6TH & 14TH AMENDMENT OF THE UNITED STATES CONSTITUTION


FACTS SUPPORTING GROUND:

  Applicant will assert that his counsel on direct appeal was ineffective
for failing to raise prosecutorial misconduct. The record will reflect
that Applicant's post-arrest silence was commented on by Texas Ranger
Troy Wilson. See (3 R.R.91). That the prosecutor introduced into the
state's case in chief, prior to any testimony from Applicant, substantive
evidence that Applicant chose to remain silent on the reading of his rights
made by Texas Ranger Troy Wilson, id. That from the beginning of it's
own case, through the cross examination of the defendant, up until the
culmination of it's final argument, the state consistently and repeatedly

sought to make impermissible references to Applicant's post-Miranda
silence. See (3 R.R.91)(4 R.R.86-88) & (5 R.R.29). That the prosecutor
elicited this information knowing that the Applicant did in fact exercise
his Fifth Amendment right to remain silent, id. It is the Applicant's
contention: since he did not raise this issue on direct appeal as plane
error, he will be procedurally barred, and the state will even try to
pursue this defense. However, because Applicant's trial counsel, and
appellate counsel failed to raise the issue, that decision is sufficiently
egregious to constitute constitutionally ineffective assistance of
counsel under Strickland v. Washington, 104 S.Ct. 2052 (1984). In this
case, Applicant believe that both counsel during trial, and counsel on
appeal was,:.ineffective for faling to raise a well-established, straight
forward, and obvious prosecutorial misconduct claim, id. There were
repeated references to the Applicant's post-arrest silence made by the
prosecutor, id. The Fifth Amendment to the Constitution Guarantees to
every criminal defendant the right to remain silent. As a corollary to


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this right, the Supreme Court has held that the Fifth Amendment also
prohibits a prosecutor from commenting on the defendant's post-arrest
silence. See Griffin v. California, 85 S.Ct. 1229 (1965). See also
Doyle v. Ohio, 426 U.S. 610 (1976). These cases have recognized that a
prosecutor may not comment on the defendant's silence. Since Applicant
was deprived of his constitutional right to counsel during trial and on
appeal, he maintains, he is entitled to be heard on his claim of
prosecutorial misconduct. See [Ground Six] of Applicant's petition for
writ of habeas corpus. Counsel on appeal should have, at the very
outset, have challenged the improper references to the Applicant's
post-arrest silence on direct appeal. Moreover, that counsel's omission
cannot have been the result of any kind of strategy. Finally, Applicant
will request an evidentiary hearing to resolve this disputed issue. See

Applicant's memorandum of law-attached hereto for all purposes.




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GROUND: SIX

PROSECUTORIAL MISCONDUCT



14TH AMENDMENT OF THE UNITED STATES CONSTITUTION


FACTS SUPPORTING GROUND:

  Applicant will assert that he was denied a fair trial because the state
prosecutor's egregious acts of misconduct. See (3 R.R.91)(4 R.R.86-88) &
(5 R.R.29). In this case, Applicant was not afforded a fair trial on
account of the state prosecutor's repeated references to Applicant's
post-arrest silence, id. The prosecutor first erred when he introduced
into the state's case in chief, prior to any testimony from the defendant
substantive evidence that the defendant chose to remain silent on the

reading of his right to remain silent given to him by Texas Ranger Troy
Wilson, id. From the beginning of it's own case, through the cross
examination of the defendant, up until the culmination of it's final
argument, the state consistently and repeatedly sought to make
impermissible references to Applicant's silence after his arrest, id. It
is fundamentally unfair, except in special circumstances to cross-
examine a defendant about post-arrest post-Miranda silence. There can be
no special circumstances in this case that would permit the prosecutor
to cross-examine the defendant about his post-arrest silence, id. This
Constitutional right that was violated by the prosecutor was not
harmless beyond a reasonable doubt. The prosecutor linked Applicant's
desire to remain silent to his not guilty by reason of insanity defense,

arguing that he understood what he was doing, id. This clearly violated
the due process clause of the 14th Amendment. See Doyle v. Ohio, 96 S.Ct.
2240 (1976). It is tha Applicant contention that he was denied a fair
trial, and maintains, that he should be afforded a new trial based on
on this Constitutional violation. Finally, Applicant will request an
evidentiary hearing to resolve this disputed claim of prosecutoral misconduct.


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See Applicant's memorandum of law attached hereto for all purposes.




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   WHEREFORE, APPLICANT PRAYS THAT THE COURT GRANT APPLICANT
         RELIEF TO WHICH HE MAY BE ENTITLED IN THIS PROCEEDING.

                                          VERIFICATION


              This application must be verified or it will be dismissed for non-compliance. For
verification purposes, an applicant is a person filing the application onhis or her own behalf. A
petitioner is a person filing the application onbehalf ofan applicant, for example, anapplicant's
attorney. An inmate is a person who is in custody.

             The inmate applicant must sign either the "Oath Before a Notary Public" before a
notary public or the "Inmate's Declaration" without a notary public. Ifthe inmate is represented
by a licensed attorney, the attorney may sign the "Oath Before a Notary Public" aspetitioner and
then complete "Petitioner's Information." Anon-inmate applicant must sign the "Oath Before a
Notary Public" before a notary public unless he is represented by a licensed attorney, inwhich
case the attorney may sign the verification as petitioner.

             A non-inmate non-attorney petitioner must signthe "Oath Before a Notary Public"
before a notary public and must also complete "Petitioner's Information." An inmate petitioner
must sign either the "Oath Before a Notary Public" before a notary public or the"Inmate's
Declaration" without a notary public and must also complete the appropriate "Petitioner's
Information."


             OATH BEFORE A NOTARY PUBLIC


             STATE OF TEXAS


             COUNTY OF Q P U//-j"l
                                                        , being duly sworn, under oath says: "I am
the applicant / petitioner (circle one) in this action and know the contents ofthe above
application for a writ of habeas corpus and, according to my belief, the facts stated inthe
application arc true."


                                                     Signatureof Applicant / Petitioner(circle one)


SUBSCRIBED AND SWORN TO BEFORE ME THIS                             DAY OF               , 20         .




                                                               Signature of Notary Public




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        PETITIONER'S INFORMATION


        Petitioner's printed name: Kirk Ross Engle
        State bar number, if applicable:

        Address:     Hughes Unit

                     Rt.2 Box 4400

                     Gatesville,TX.76597

        Telephone:

        Fax:



        INMATE'S DECLARATION



        I, Kirk Ross Engle                        ^am the/applicany petitioner (circle one) and
being presently incarcerated in Hughes Unit                               tdeclare under penalty of

perjurythat, according to my belief, the facts stated in the above application are true and correct.


                                                        Signed on September^ 18            20 17


                                                        Signature oMpplTca^)/ Petitioner (circle one)




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    PETITIONER'S INFORMATION


    Petitioner's printed name: Kirk Ross Engle
    Address:     Hughes Unit
                 Rt.2 Box 4400

                 Gatesville,TX.76597


    Telephone:

    Fax:



                                          Signed on September 18          20 J7_


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                                                             Signature of Petitioner




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                              NUMBER 13-16-00270-CR

                                 COURT OF APPEALS


                      THIRTEENTH DISTRICT OF TEXAS

                         CORPUS CHRISTI - EDINBURG


KIRK ROSS ENGLE,                                                                 Appellant,




THE STATE OF TEXAS,                                                              Appellee.


                       On appeal from the 24th District Court
                             of DeWitt County, Texas.


                             MEMORANDUM OPINION

            Before Justices Rodriguez, Contreras,1 and Longoria
                  Memorandum Opinion by Justice Rodriguez

       Appellant Kirk Ross Engle appeals from his conviction for aggravated assault with

a deadly weapon, a first-degree felony, see Tex. Penal Code Ann. § 22.02(a)(2) (West,

Westlaw through 2015 R.S.), with a finding of habitual offender status. See id. § 12.42


       1 Justice Dori Contreras, formerly Dori Contreras Garza. See Tex. Fam. Code AM'^'HKlOl et
                                                                               AOf_
seq (West, Westlaw through 2015 R.S.).
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(West, Westlaw through 2015 R.S.). By one issue, Engle contends that the trial court

erred when it limited his expert's testimony. We affirm.

                                          I.       Background


       Engle was charged with aggravated assault with a deadly weapon, with

enhancement paragraphs alleging habitual offender status.                     Throughout his jury trial,

Engle did not dispute his role in the aggravated assault with a deadlyweapon. He based

his trial strategy on the affirmative defense of involuntary intoxication.2
       Although the jury charge included a definition of involuntary intoxication and an

option of finding Engle not guilty by reason of insanity, the jury found Engle guilty of

aggravated assault with a deadly weapon. The trial court conducted the punishment

hearing and found all three enhancement paragraphs to be true. The court assessed

Engle's punishment at forty years in the Institutional Division ofthe Texas Department of

Criminal Justice.     Engle appeals from this judgment.

                      II.      Limitation of Defense Expert's Testimony

       In his sole issue, Engle generally complains that the trial court abused its discretion

when it limited the testimony of his expert, Thomas Demoor, M.D., by not allowing him to

testify fully and completely about an element of the involuntary intoxication defense—

specifically whether Engle knew that his conduct was wrong. Engle contends that by

limiting Dr. Demoor's testimony, the trial court stopped him from proving his affirmative

defense.    He claims that his constitutional right to due process was violated because Dr.

Demoor's testimony was "critical to the heart of [his] trial defense."



       2 It is undisputed that Engle notified the State of his intent to raise an insanity defense.
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A.     Standard of Review

       We review a trial court's evidentiary rulings to admit or exclude evidence for an

abuse of discretion.   See Shuffieldv. State, 189 S.W.3d 782, 793 (Tex. Crim. App. 2006).

A trial court abuses its discretion when its decision is arbitrary, unreasonable, or without

reference to guiding rules or principles. See State v. Mechler, 153 S.W.3d 435, 439
(Tex. Crim. App. 2005). This Court examines the trial court's decision in light of what
was before the trial court at the time the decision was made.    See Weatherred v. State,

15 S.W.3d 540, 542 (Tex. Crim. App. 2000).          We will uphold that decision if it is

reasonably supported by the record and correct under any theory of law applicable to the
case. See Willover v. State, 70 S.W.3d 841, 845 (Tex. Crim. App. 2002).

B.     Applicable Law

       Section 8.01 of the Texas Penal Code, which encompasses the defense of insanity

due to involuntary intoxication, provides that "it is an affirmative defense to prosecution

that, at the time of the conduct charged, the actor, as a result of severe mental disease

or defect, did not know that his conduct was wrong." Tex. Penal Code Ann. § 8.01(a)

(West, Westlaw through R.S. 2015); Mendenhall v. State, 77 S.W.3d 815, 818 (Tex. Crim.
App. 2002). The elements needed to establish an involuntary intoxication affirmative
defense include: (1) the accused exercised no independent judgment or volition in taking

the intoxicant; and (2) as a result of a severe mental disease or defect caused by the

involuntary intoxicant, the accused did not know that his conduct was wrong.

Mendenhall, 77 S.W.3d at 818; see Farmer v. State, 411 S.W.3d 901, 911-12 (Tex. Crim.

App. 2013) (Cochran, J., concurring); Torres v. State, 585 S.W.2d 746, 749 (Tex. Crim.




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App. 1979); see also Tex. Penal Code Ann. § 8.01(a). "Involuntary intoxication by

prescription medicine occurs only when the person has no knowledge that the medicine

has possibly intoxicating side effects." Woodman v. State, 491 S.W.3d 424, 429 (Tex.

App—Houston [14 Dist.j, 2016, pet. ref'd) (citing Mendenhall v. State, 15 S.W.3d 560,

565-66 (Tex. App.—Waco 2000), aff'd, 11 S.W.3d 815 (Tex. Crim. App. 2002)); Nelson

v. State, 140 S.W.3d 206, 210 (Tex. App.—Fort Worth 2004, no pet).

C.     Analysis

       1.     The Trial Court Properly Sustained the State's State-of-Mind
              Objection

       Engle first contends that the trial court abused its discretion when it did not allow

Dr. Demoor to opine that Engle "was not able to appreciate right from wrong because of

involuntary intoxication."   On direct examination, Dr. Demoor provided the following

testimony relevant to the State's objection that Dr. Demoor disqualified himself from

testifying regarding Engle's state of mind:

       Q.     Can you tell this jury what procedures you go through in examining
              someone to determine their legal sanity at the time they committed a
              crime.

      A.      Well, legal sanity is a very narrowly defined topic and what some
              people are used to hearing is called not guilty by reason of insanity,
              that might be more familiar to what you've heard. And for somebody
              to be not guilty by reason of insanity they have to have such severe
              mental illness that they can no longer tell right from wrong. And it's
              very few people that are so severely mentally ill that they can't tell
              right from wrong. To evaluate for that you're trying to assess what
              actions they did and whether a mental illness caused them to not
              realize that the actions they did were wrong.

      Q.      Did you conduct such an examination on Mr. Engle?

      A.      You know, technically I did not because we were not looking at

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          criminal insanity. I didn't see any evidence to support not guilty by
          reason of insanity. I wasn't looking for that. Iwas looking for what
          we thought of as involuntary intoxication.



    Q.    Okay. You had mentioned that you didn't know the straight insanity
          but then you started to mention involuntary intoxication.

    A.    Well, that was the question that I was evaluating, yes.

    Q.    And I think when you reported was insanity, too, for voluntary
          intoxication?

          THE REPORTER:         I'm sorry. Would you start again.

    Q.   Was it your understanding through to involuntary intoxication?

    A.   I didn't use the term insanity, I did believe he suffered from
         involuntary intoxication due to his medication and that led to a manic
         state that caused his aggressive outburst.

    Q.   And did it lead to a state where he didn't know what he was doing
         was wrong?

         [THE STATE]:        I object, Your Honor.    The witness has already
         testified he did not evaluate for that.

         THE COURT:       Sustained.

    A.   Can I revise?      I mean ... I looked at the records, I talked to the
         individual.   I didn't know—I didn't notice that he didn't know it was
         wrong or whether it was wrong or right, I didn't—I didn't ask that
         question. He had amnesia for the event so Icouldn't really ask what
         his state of mind was at the time of the event.




         THE COURT:          We're going to break for lunch. I'm going to ask
         that you be back in the jury room, ready to proceed, at 1:25. We'll
         be in recess until then.

         (Jury recessed.)




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           THE COURT:            My understanding ... is this is a two-prong test.
           One is was he involuntarily intoxicated and as a result of that
           involuntary intoxication did he lose an awareness of right and wrong,
           so this doctor has testified that he didn't evaluate him for losing an
           awareness of right and wrong. So he can talk about involuntary
           intoxication but he has very eloquently and honestly said I didn't
           evaluate him for whether he knew what he was doing was right or
           wrong. So I can't—we can't go off into that. I want to make sure
           you understand that. He can no longer testify aboutwhether or not
           Mr. Engle knewwhat he was doing and knewwhether itwas right or
           wrong.     He can talk about whether he was involuntarily
           intoxicated. . . . But that's where I think we are in the evidence at this
           point, so Ijust want to make sure that everybody understood where
           I think we are and that my rulings are going to be based on that
           understanding of what the doctor has told me, that he didn't evaluate
           him for whether or not he was aware of the right or wrong nature of
           his actions.




           (Open court, defendant and jury present.)

           THE COURT:            You may be seated. . . .

    Q.     Doctor, do you remember when we left off you had mentioned
           involuntary intoxication; is that correct?

    A.     Yes.

    Q.     What exactly is involuntary intoxication?

    A.     In this context involuntary means that he didn't have a choice to
           refuse to take a substance. Intoxication means that a substance
           altered his emotional and mental well-being.

    Q.     And did you see evidence of that in this situation with Mr. Engle?

    A.     Yes.

    Q. ,   Now, back to—you said that you didn't see any evidence of insanity
           in this case, correct?

    A.     Well, that I didn't evaluate him specifically.




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       Q.     Okay. And why was that?

       A.     Because he told me he didn't remember the event and I couldn't
              evaluate his state of mind at the time of the event.

       Q.     So because he had amnesiatic [sic] about it....

       A.     He testified—he said he had blackouts, which we use the term
              amnesia.

       Q.     So you reviewed other things in relation to this case, though?

       A.     Yes.

       Q.     What all did you review? Offense reports?

       A.     I reviewed his medical records from the MHMR in Victoria.               I
              reviewed the witness statements from the assault, I guess offense
              reports. I did review [the State's expert's] reports. There might be
              a few other things.



              [DEFENSE]:            Pass the witness.

       Examining the trial court's decision in light of what was before the trial court at the

time.the decision was made, see Weatherred, 15 S.W.3d at 542, we cannot conclude that

the trial court's decision to sustain the State's objection regarding state-of-mind testimony

was arbitrary, unreasonable, or without reference to guiding rules or principles. See

Mechler, 153 S.W.3d at 439. Clearly, Dr. Demoor testified that he did not evaluate

Engle's state of mind at the time of the event. Dr. Demoor explained that he could not

testify regarding Engle's state of mind because Engle told him that he "didn't remember

the event." It is apparent that the trial court understood that this testimony related to

insanity due to a mental disease or defect or to insanity due to the involuntary intoxicant

that caused the severe mental disease or defect.        See Mendenhall, 11 S.W.3d at 818;

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see also Tex. Penal CodeAnn. § 8.01 (a). Based on Dr. Demoor's explicit testimony, the

trial court sustained the State's objection that this expert had already testified he did not

evaluate Engle for whether he knew that his conduct was wrong. See Mendenhall, 11
S.W.3d at 818. The trial court's decision to exclude any state-of-mind testimonyfrom Dr.

Demoor is reasonably supported by the record, especially in light of the expert's
unequivocal testimony that Kyle "didn't remember the event" so he"couldn't evaluate his
state of mind," and the trial court's reasoning as expressed to counsel outside the

presence of the jury. See Willover, 70 S.W.3d at 845. The decision is correct based on
a theory of law related to the admissibility of evidence. See id. We conclude that the
trial court did not abuse its discretion in excluding Dr. Demoor's opinion testimony

regarding Engle's state of mind. See Shuffield, 189 S.W.3d at 793.3
        2.      The Trial Court Did Not Rule on the State's Relevancy Objection

        Engle also asserts that the trial court erred in sustaining the State's relevancy
objection to the following testimony provided by Dr. Demoor during his direct examination:
        Q.      Are you familiar with Lexapro?

        A.      Yes.

        Q.      What is Lexapro prescribed for?

        A.      It's prescribed for depression and anxiety.

        Q.      Was this a proper case to prescribe Lexapro for?

         3 TheStatealsoobjected to thefollowing question Engle asked ofDr. Demoor: "And you said you
didn't see any evidence of insanity because you couldn't talk to him directly about it. Were there other
indications, though, thatthere's a possibility or probability that he could have beeninsane at the time ofthe
alleged offense?" The trial court sustained the State's objection that Dr. Demoor had "already testified he
did not evaluate for that." On appeal, Engle does not argue the appropriateness of the State's objection
to his question regarding "other indications .. . thathe could have been insane" and does not challenge the
trial court's ruling on this objection. So we do not address it. See Tex. R. App. P. 47.1.

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       A.     It's a debatable question. Lexapro is not approved for use in bipolar
              depression and in my opinion Mr. Engle suffers from bipolar disorder,
              as was the opinion of the doctor at MHMR, Dr. Dotter.
              Antidepressants are used at times in bipolar depression but they
              have to be [used] very cautiously, with very clear instructions to
              monitor for increasing agitation or irritability or aggression and to
              notify the doctor or to stop the medicine ifthat happens. That's my
              experience of using that type of medicine for bipolar depression.

       Q.     And so in using it for bipolar depression, in reviewing the—what all
              did you review in looking at... .

             [THE STATE]:         Your Honor, I'm going to object. I don't
             think it's relevant. The only relevance of this witness's
             testimony has to do with the analysis for the issue of insanity,
              not for bipolar depression.

      Although Engle contends that the trial court sustained the State's relevancy

objection, we find nowhere in the record where the court expressly or impliedly adversely
ruled on this objection. See Tex. R. App. P. 33.1; see also Tex. R. Evid. 401. After the

State objected, the trial court excused the jury and addressed the State's challenge to Dr.

Demoor state-of-mind testimony.       Defense counsel simply chose not to continue

questioning Dr. Demoor about the prescription medicine. So Engle has no basis for his

complaint that "he was stopped from proving how Lexapro affects sufferers of bipolar

disorder." See Tex. R. App. P. 33.1 (a).

      3.      Determination

      Having concluded that the trial court properly sustained the State's state-of-mind

objection and that Engle has no basis for a complaint about the State's relevancy

objection, we overrule Engle's sole appellate issue.




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                                 Conclusion


       We affirm.

                                                 NELDA V.RODRIGUEZ
                                                 Justice


Do not publish.
Tex. R. App. P. 47.2(b).

Delivered and filed the
19th day of January, 2017.




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                                           Case. IS-H-IL, M
                           IN THE 24TH JUDICIAL DISTRICT COURT
                                          OF DEWITT COUNTY, TEXAS

                                      EX PARTE KIRK ROSS ENGLE


        APPLICANT'S MOTION REQUESTING THAT PORTIONS OF THE RECORD THAT'S BEING
         REFERENCE IN HIS WRIT APPLICANT BE ATTACHED HERETO FOR ALL PURPOSES

TO THE HONORABLE JUDGE OF SAID COURT:

    Now comes the Applicant, who files this his motion requesting that portions
of the record that's reference in his writ application be attached hereto for

all purposes, and will show the Court as follows:

• Applicant was granted a court appointed attorney on direct appeal in this
    case due to being indigent.

•Applicant is to poor to provide the record in this case, and request that
      the State provide the record due to his poor status.

• Finally, this motion is made in good faith, and not for any purposes to
    delay these proceedings.

WHEREFORE, PREMISES CONSIDERED, Applicant respectfully prays that this Court
Grant this motion, and provide the record, or in the alternative order that :
the State provide the record in this case. Justice demands nothing less.

                                          CERTIFICATE OF SERVICE

    This is to certify that on September 18,2017                    a true correct copy 0f
this motion was forwarded to: DeWitt County District Clerk307 N. Gonzales St.
    Cuero,TX. 77954         _.
                                . ..,,.                                        Kirk Ross Engle
£-'•""'"      FILED                '-:                                         Hughes Unit
I          //<°f_5^       7=5                                                 Rt-2 Box 4400
j: at      /C)-rwan)'clock-CCjH                                                Gatesville,TX.
I.-         SEP 18 201/                                                        76597 [U.S.A]


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                                      Case No.l5-l/-/3J3aq
                            IN THE 24TH JUDICIAL DISTRICT COURT
                                  OF DEWHT COUNTY, TEXAS

                                  EX PARTE KIRK ROSS ENGLE


                MEMORANDUM BRIEF IN SUPPORT OF WRIT FOR HABEAS CORPUS

TO THE HONORABLE JUDGE OF SAID COURT:

 Pursuant to Article 11.07 of the Texas Code of Criminal Procedure, the
Applicant files this his memorandum brief in support of writ for habeas corpus
and will show this Court as follows:


                    CONCERNING THE NEED FOR AN EVIDENTIARY HEARING

 There are controverted, previously unresolved facts material to the legality
of Applicant's confinement which would necessitate a hearing. Applicant has
alleged facts which, if true, entitle him to relief. See Ex parte Maldonado,
688 S.W.2d 114, 116 (Tex.Crim.App.1985). It is therefore requested that an
evidentiary hearing be held in response to Applicant's application for writ
of habeas corpus.


                                         GROUND 1.
                             INEFFECTIVE ASSISTANCE OF COUNSEL

THE LAW

  A criminal defendant has a constitutional right to effective assistance of
counsel at trial. See Hernandez v. State, 726 S.W.2d 53, 56-57 (Tex.Crim.Appv-
1986). Claims of ineffective assistance are analyzed under the standards set
forth in Strickland v. Washington, 466 U.S. 687, 694 (1984). See Hernandez,
726 S.W.2d at 55; Williams v. State, 946 S.W.2d 886, 904 (Tex.App.-Waco 1997,
no pet.). An applicant claiming ineffective assistance must show (1) counsel's
representation,fell below an objective standard of reasonableness, and •(-2)|
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             SEP 18 2017
          TABETH GARDNER, Clerk   -         1-
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there is a reasonable probability that, but for counsel's unprofessional
errors, the result of the proceeding would have been different. See Strickland

466 U.S. at 687; see also Hernandez, 726 S.W.2d at 55. To prevail on a claim
of ineffective assistance, the applicant must overcome the strong presumption
that counsel provided competent representation. See Ex parte McFarland, 163

S.W.3d 743 (Tex.Crim.App.2005).

ARGUMENT

  Applicant's trial counsel failed to object to the prosecutor's egregious
acts of misconduct during trial. See (3 R.R.91),(4 R.R.86-88), & (5 R.R.29).
During trial, a Texas Ranger named Troy Wilson testified. Id. This witness
commented on the Applicant's post-arrest silence in violation of the
Applicant's right to remain silent. The defendant in every criminal trial has
the constitutional right to remain silent. See United States Constitution

Amendment 5; Texas Constitution Article 1, § 10. It is also provided by
statute. Tex.Crim.Proc.Code Art. 38.08. Use of post-arrest, post-Miranda

silence is unacceptable. See Doyle v. Ohio, 426 U.S. 610, 96 S.Ct. 2240, 49

L.Ed.2d 91 (1976)(Moreover, while it is true that the Miranda warnings

contain no express assurance that silence will carry no penalty, such
assurance is implicit to.any person who receives the warnings). This is one of
the most sacrosanct of constitutional rights. The violation of the right was

clear and deliberate. Id. The prosecutor made repeated references to
Applicant's post-arrest silence. Id. Pursuant to Griffin v. California, 380
U.S. 609: A prosecutor is prohibited from commenting on the accussed's post-
arrest silence. Id. at 615. The failure to object and site the right to

remain silent in this case allowed, and in fact, invited the jury to equate

the Applicant's silence with guilt. There was no reasonable tactical basis
for failing to make a constitutional objection. In not making this

constitutional objection, counsel was not functioning as "counsel" as


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guaranteed by the Sixth Amendment; Strickland, 466 U.S. at 687 S.Ct. 2054, and
Applicant can establish prejudice also. During trial, the prosecutor
stated several times that the Applicant choose to remain silent after Texas

Ranger Wilson read him his right's, id. That he got up and walked out on him.
id. Clearly the jury's unfettered receipt of this argument worked to Applicant's
actual and substantial disadvantage. As the argument was made to rebut the

Applicant's sole defense of insanity, "id. Given the lack of a sufficient
objection, the trial court issued no cautionary instruction leaving the jury
free to consider this highly improper factor in determing guilt and fixing
sentencing. See United States v. Wadlington, 233 F.3d 1067, 1080 (8th Cir.-
2000)(defendant not prejudice by prosecutorial misconduct during trial where
district court gave appropriate cautionary instructions). Had counsel objected
and prompted a curative instruction from the trial court, the court could
have given an appropriate cautionary instruction to the jury. Failing to
lodge this objection thus prejudiced Applicant and infected his entire trial
with constitutional error. See Darden v. Wainwright, 477 U.S. 168, 182, 106
S.Ct. 2464, 91 L.Ed.2d 144 (1986). The trial record, in Applicant's case "is
abundantly clear that trial counsel failed to make a constitutional argument
predicate on the prosecutor's invitation to the jury that it consider
Applicant's post-arrest silence in rebuttal to his sole defense." id. No
sound trial strategy could include failing to make a constitutional objection
to a prosecutor's improper comment concerning Applicant's post-arrest silence.
Id. Thus, the prosecutor's argument, and comment here "was constitutionally
defective such that any reasonable counsel would have objected under the
circumstances." id. See Combs v. Coyle, 205 F.3d 269 (6th Cir.2000). Had
counsel made the proper objection during trial, there is a reasonable
probability that the outcome of the proceeding would have been different. On
the contrary, a motion for a mistrial would have been appropriate and should



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     have been made. id. The failure to object to these improper and prejudicial

     statements constitutes ineffective assistance of counsel. See Strickland v.

#    Washington, 466 U.S. at 687 (1984).

     CONCLUSION

        Based on the above Applicant urges this Court to reverse the conviction,

     vacate the sentence, and or hold an evidentiary hearing, and after said

     hearing, order the State to retry the Applicant. Justice demands nothing less.

                                                GROUND 2.
     APPLICANT WAS DENIED HIS CONSTITUTIONAL RIGHT TO A FUNDAMENTALLY FAIR TRIAL AS
              GUARANTEED BY THE DUE PROCEES CLAUSE OF THE FOURTEENTH AMENDMENT

     THE LAW

       The right of an accussed in a criminal trial toxdue procees is, in essence,

     the right to a fair opportunity to defend against the State's accusations.
     The right to confront and cross-examine witnesses and to call witnesses on
     one's own behalf have long been recongnized as essential to due process. See

     Chambers v. Mississippi, 93 S.Ct. 1038 (1973).
       An accussed does not have an unfettered right to present any evidence he

     or she wishes. See Taylor v. Illinois, 108 S.Ct. 645 (1988). However, as
     Chambers teaches, depending on the facts and circumstances of the case, at
     times a state's rule of evidence cannot be mechanistically applied and must

     yield in favor of due process and the right to a fair trial; 410 U.S. at 302,

     93 S.Ct. 1038 (1973).
                                 r
       Due process includes a right to a meaningful opportunity to present a
    complete defense. See Crane v. Kentucky, 106 S.Ct. 2141 (1984). That
    constitutional right is violated by the exclusion of probative admissible
     evidence."




    ' The right to offer the testimony of witnesses, and to carpel their attendance, if neccessary, is
      in plain terms the right to present a defense, the right to present the defendant's version of the
     facts as well as the prosecution's to the jury so it nay decide \fere the truth lies. Just as an
    accused has the rMit to confront the prosecution s witnesses for purpose of ctrBlleming thear
    testimony, he has the right to present his cwn witnesses bo establisha defense. Seel^nungton v.
    State of Texas, 87 S.Ct. 1920 (1967).
                                                     *                                                  —   78
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ARGUMENT


  Applicant was deprived of the opportunity to present a complete defense
when the trial court limited his expert witness testimony. See (4 R.R.126).
In this case, Applicant clearly asserted the defense of insanity pursuant to

Texas Penal Code § 8.01 arid tried to prove it by asserting involuntary

intoxication. His pre-trial filings clearly asserted and notified the State
that he would assert an insanity defense at trial. See (1 CR.52-53). The
State clearly knew this as well as the State sought an examination of the
Applicant prior to trial. See (1 CR.55-56). In fact, the State presented her
own psychiarist, Joel Kutnik, M.D. to testify on her behalf concerning ";-.?.
Applicant during trial. See (4 R.R.128). Applicant's trial counsel also argued
and pursued the defense of insanity and involuntary intoxication during his
trial by calling witnesses including, but not limited to Dr. Demoor. As
Applicant's trial counsel did not contest the State's witnesses as to the
incident in August of 2014 for which Applicant was charged, it is clear that
his trial strategy was to present an insanity defense by way of involuntary
intoxication. The trial court's ruling was erroneous and in fact contrary to
clearly established federal law. See Crane v. Kentucky, 106 S.Ct. 2142 (1984).
See also Chambers v. Mississippi, 93 S.Ct. 1038 (1973). It is clear that the
trial court limited Dr. Demoor's testimony. However, the trial court did not

act with respect to any guiding rule or principle in limiting and essentially
keeping Applicant's expert from testifying fully and completely as to both
prongs of the involuntary intoxication defense. In fact, the trial judge
failed to focus on the probative value of the Applicant's expert testimony,
and did not access the potential adverse effect of limiting the defense expert
testimony in this case. The trial, court confused the two different concepts
of insanity and involuntary intoxication in making its ruling outside the
presence of the jury. Involuntary intoxication is encompassed by the insanity



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defense found in Texas Penal Code § 8.01 and is an affirmative defense. See

Mendenhall v. State, 77 S.W.3d 815, 817-18 (Tex.Crim.App.2002). While
involuntary intoxication is encompassed by Texas Penal Code § 8.01, it is
still a separate and independent way to meet the requirements of § 8.01.
Clearly both*, the trial court, and the 13th Court of Appeals decision was
unreasonable, and also contrary to established federal law. The evidence in
which the defense attempted to put on was material to the Applicant's sole
defense of insanity. Thus, the holding of both Court's to reject this theory
was thus erroneous. The 13th Court of Appeals allowed the trial court to apply

a rule that would deprive the Applicant of putting on a complete defense
regardless of the effect's it would have on the Applicant's right's.

CONCLUSION

  Based on the above Applicant urges this Court to reverse the conviction,

vacate the sentence, and or set this matter down for an evidentiary hearing,
and after said hearing, order the State to retry the Applicant. Justice demand
nothing less.

                                  GROUND 3.
                      INEFFECTIVE ASSISTANCE OF COUNSEL

THE LAW

  In Bell v. Cone*, 122 S.Ct. 1843 (1984), the Supreme Court defined the
differences between claims governed by Strickland and claims governed by

Cronic. If a claim is governed by Cronic, however, the defendant need not
demonstrate any prejudice resulting from the lack of effective counsel. Three
types of case warrant Cronic's presumption-of-prejudice analysis. The first is
the complete denial of counsel, in which "the accused is denied the presence
of counsel at a critical state." Bell, 122 S.Ct. at 1851. The second is when
counsel "entirely fails to subject the prosecution's case to meaningful




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adversarial testing." Id. The third is when counsel is placed in circumstances
in which competent counsel very likely could not render assistance. Id.

ARGUMENT

  When the state, here in the person of the trial judge, interferes in certain
ways with the ability of counsel to make independent decisions about how to
conduct the defense, Strickland v. Washington, supra, 104 S.Ct. at 1064 (1984)
we are in a different ballpark. If the state is not a passive spectator of an

inept defense, but a cause of the inept defense, the burden of showing
prejudice is lifted. It is not right that the state should be able to say,
sure we impeded your defense now prove it made a difference. It is enough
that in this case, the prosecutor's obstructive tactics, and it's repeated
objection's appreciably reduced the likelihood that Applicant's trial counsel
would conduct a vigorous defense. See (4 R.R.123) & (4 R.R.124-125). Compare
United States v. Cronic, 104 S.Ct. 2039 (1984); Geders v. United States, 96

S.Ct. 1330 (1976); Herring v. New York, 95 S.Ct. 2550 (1975); Siverson v.
0'Leary, 764 F.2d 1208, 1217 (7th Cir.1985). This notion of impedance may, of
course, lie behind the refusal to disregard harmless error when the defendant
is forced against his will to be jointly represented with other defendants.
But whether or not this case fits the precise mold of the Holloway case it

involves the same policy, one of protecting defendants against gratuitous

interference by the judge, and or prosecutor with their efforts to defend
themselves. Applicant has asserted that he was denied the assistance of

counsel due to the state's repeated inappropriate objection's. See the record
(4 R.R.123) & (4 R.R.124-125). In this case, the prosecutor went so far as to
imped defense counsel's ability to cross-examine Applicant's expert witness.
The state felt that Applicant was not worthy of the effective assistance of




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counsel, simply because it felt he was guilty of the crime. Hypothetically,
if the police, after arresting Applicant and obtaining an eye-witness
identification of him plus his confession, had taken him directly to the
penitentiary on the ground that a trial would be a waste of time for someone
so patently guilty, he would be entitled to release on habeas corpus; He
would have been deprived of his liberty without due process of law. The
Constitution requires (unless the defendant waives his rights) a certain
modicum of adversary procedure even if the outcome is a foregone conclusion
because the evidence of guilt is overwhelming. Although the present case is

much less extreme than the hypothetical case just put, Applicant nevertheless
was so far impede in his ability to defensd himself effectively that he should
be entitled to a new trial, or to be released if the state of Texas and its

authorities don't want to retry him. Applicant do not contend that he was

denied due process, however, he thinks that the state deprived him of his
Constitutional right to the. assistance of counsel. No matter how guilty the

prosecutor thinks the defendant is, he was in this case, entitled to a better
orocedure that the one he received. In the present case, the circumstances

surrounding defense counsel's representation of Applicant-the prosecutor's
repeated objection's-prevented defense counsel from assisting Applicant during
a critical stage of the proceeding. See Cronic, 466 U.S. at 659 (1984). Under
those circumstances, although counsel was available to assist Applicant, the
likelihood that any lawyer, even a fully competent one as Applicant's was here
could have proveded effective assistance was so small that a presumption of
prejudice is appropriate without inquiry into the actual conduct of the trial.
Id. at 659-60, 104 S.Ct. at 2047 (1984).

CONCLUSION
  Based on the above Applicant urges this Court to reverse the conviction,
and vacate the sentence. Justice demands nothing less.



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                                    GROUND 4.
                  INEFFECTIVE ASSISTANCE OF APPELLATE COUNSEL

THE LAW

  A first appeal as of right is not adjudicated in accord with due process of
law if the appellant does not have the effective assistance of an attorney.
This is hardly novel. See Evitts v. Lucey, 105 S.Ct. 830 (1985). In short,
the promise of Douglas that a criminal defendant has a right to counsel on
appeal-like the promise of Gideon that a criminal defendant has a right to
counsel at trial-would be a futile gesture unless it comprehended the right

to the effective assistance of counsel. Id. The right to appellant counsel is
now firmly established. See Evitts v. Lucey, 469 U.S. 392 (1985).

ARGUMENT

  Applicant asserts that his counsel on his direct appeal was ineffective
for failing to raise on appeal four improper comments on Applicant's
exercise of his Fifth Amendment right to remain silent: The first comment by

Texas Ranger Troy Wilson, the second also by Ranger Wilson, the third by the
prosecutor, and the fourth also by the prosecutor during closing argument.
See (3 R.R.91)(4 R.R.86-88) & (5 R.R.29). The testimony by Ranger Wilson
regarding Applicant's post^arrest silence which the prosecutor elicited and
the prosecutor's closing argument are all impermissible comments on the
Applicant's post-arrest silence, id. In Griffin v. California, 85 S.Ct. 1229
(1965), the Supreme Court held that direct comments by the prosecution on a
defendant's silence in a state criminal proceeding violate the Fifth

Amendment. Id. The definition of such an impermissible comment turns on -r?:-J:.:

whether the remark is "manifestly intended" by the prosecutor or "would
naturally" and necessarily be understood by the jury as a comment on the
defendant's silence. See United States v. Forrest, 620 F.2d 446, 455-56

(5th Cir.1980). Here, all of the standards of an impermissible comment are



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met. The comments were direct and would naturally be understood by a jury as

comments on silence, id. When viewed in the context of the overall

proceedings, these comments show a manifest intent on the part of the
prosecutor to highlight the defendant's silence and to utilize it to defeat
Applicant's insanity defense, id. There were repeated questions, id. The
prosecutor was not just seeking to verify that Applicant was advised of his
rights, when Ranger Wilson simply told the jury that Applicant chose to
remain silent after reading him his right's, id. Rather after ascertaining
that the Miranda advice was given, the prosecutor on four separate

occasions expressly asked Ranger Wilson whether Applicant had made a
statement after being read his rights, had Applicant done anything else after
being read his right's, id. Afterwards,, the prosecutor repeated the same
procedure with Applicant when he took the stand, id. Finally, in his closing
argument, the prosecutor himself commented on Applicant's desire to remain
silent, and linked Applicant's silence to his insanity defense, arguing that
he understood what he was doing, id. In this regard, the prosecutor's
comments are indistinguishable from that condemned in Wainwright v.
Greenfield, 106 S.Ct. 634 (1986). While this use of Applicant's silence
clearly violated the due process clause of the 14th Amendment, see Doyle v.
Ohio, 96 S.Ct. 2240 (1976), such a constitutional violation is subject to the
harmless error rule. See United States v. Meneses-Davila, 580 F.2d 888 ,
(5th Cir.1978)(citing Chapman v. United States, 547 F.2d 1240, 1249-50
(5th Cir,), cert, denied, 431 U.S. 908, 97 S.Ct. 1705, 52 L.Ed.2d 393
(1977). In Meneses-Davila, the 5th Circuit identified three categories into
which prosecutorial comment on a defendant's silence may fall. Id. However,
Meneses-Davila recognized that comments on post-arrest silence do not always
fit neatly into these categories and that determinations of harmlessness must
be made on a "case-by-case basis," Id. at 890. The procedure for making such a


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determination should include: an examination of the facts, the trial context

of the error, and the prejudice created thereby as juxtaposed against the
strength of the defendant's guilt. Id. In Meneses-Davila, the Fifth Circuit
emphasized the fact that there was more than a single reference to the
defendant's silence. Id. at 895. Further, the court found that while the

evidence of defendant's guilt was strong, it was not overwhelming, nor was
defendant's exculpatory story transparently frivolous. Id. Applicant's
situation closely resembles that of Meneses-Davila. At three different times
during Applicant's trial, references were made to the fact that Applicant
terminated the interview with Texas Ranger Troy Wilson, thereby wishing to

remain silent, and invoking the Fifth Amendment against self incrimination,
including the prosecutor's closing argument linking Applicant's silence to
the insanity issue." Significantly, insanity was the thrust of Applicant's
defense, 'Sftd the .evidence:r,of Applicant's .sanity at the time of the incident
was far from overwhelming. Finally, it is undisputed that Applicant was

pursuing an insanity defense, the improper comments on Applicant's silence
cannot be deemed harmless beyond a reasonable doubt. See Greenfield v. Wain-

wright, 741 F.2d 329, 336 (11th Cir.1984)(holding that prosecutor's comment
on silence as evidence of sanity was not harmless), aff'd on other grounds,
474 U.S. 284, 106 S-Ct. 634, 88 L.Ed.2d 623 (1986). Applicant maintains that
counsel on appeal was constitutionally ineffective since he failed to raise
this issue on direct appeal as plane error. It cannot be said in this case,
that the adversarial testing process worked in Applicant's direct appeal;
Strickland, 104 S.Ct. at 2066 (1984). Counsel's deficient performance worked
to Applicant's actual prejudice. Had counsel raised the issue on appeal, there
is a reasonable probability that the outcome of the appeal would have been
different. This issue was not harmless, in fact, it was used to defeat the
Applicant's sole defense of insanity. See Lockhart v. McCotter, 782, F.2d 1275.
« ihe black's Law Dictionary define the word 'Terminate": To put an end; To bring to an end. To
 put an end; To bring to an end. To end; To conclude.
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CONCLUSION

  Based on the above Applicant urges this Court to reverse the conviction,

and vacate the sentence. Justice demands nothing less.

                                           GROUND 5.
                      INEFFECTIVE ASSISTANCE OF APPELLATE COUNSEL

THE LAW
  See ground four in the memorandum of law.
ARGUMENT
  See ground five in the writ application.
CONCLUSION
  Based on the above Applicant urges this Court to reverse the conviction,

and vacate the sentence. Justice demands nothing less.

                                           GROUND 6.
                                  PROSECUTORIAL MISCONDUCT

THE LAW

  The United States Attorney is the representative not of an ordinary party to

a controversy, but of a sovereignty whose obligation to govern impartially is
as compelling as its obligation to govern at all; and whose interest,
therefore, in a criminal prosecution is not that it shall win a case, but
that justice shall be done." As such, he is in a peculiar and very definite
sense the servant of the law, the two fold aim of which is that guilt shall

not escape or innocence suffer. He may prosecute with earnestness and vigor-
indeed, he should do so. But, while he may strike hard blows, he is not at
liberty to strike foul ones. It is as much his duty to refrain from improper
methods calculated to produce a wrongful conviction as it is to use every

legitimate means to bring about a just one (Quoting Berger v. United States,--.
55 S.Ct. 629 (1935)). See also Donnelly v. DeChristoforo, 416 U.S. 637.
-vlhe District Attorney Represent's DeWitt County, therefore, they are also in the same position
  as a United States Attorney. That guilt shall not escape or innocence suffer.

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ARGUMENT

  Applicant contends that during the course of his trial which occurred in
DeWitt County, the prosecutor made improper references to his post-Miranda
silence in violation of his constitutional right to remain silent. See Doyle v

Ohio, 96 S.Ct. 2240 (197.6). Applicant asserts that he was denied a fair trial
due to the prosecutor's egregious acts of misconduct. In Doyle v. Ohio, 426
U.S. 610 (1976), the Supreme Court held that it was a violation of the due
process clause of the Fourteenth Amendment for the prosecution to use a
defendant's post-arrest silence to impeach exculpatory testimony given by him
at trial. This rule rested on the presumption that it was fundamentally unfair

to assure a suspect that his silence would not be used against him and then
to use his silence to impeach an explanation subsequently offered at trial.
See also Wainwright v. Greenfield, 106 S.Ct. 634 (1986). However, Doyle does
not apply to cross-examination that merely inquires into prior inconsistent
statements. Such questioning makes no unfair use of silence, because a
defendant'who voluntarily speaks after receiving Miranda warnings has riot
been induced to remain silent at all. See Anderson v. Charles, 100 S.Ct. 2180

(1980)(per curiam)(concluding no Doyle error, where the prosecutor questioned
petitioner about the difference between his trial testimony and prior
inconsistent statements he had made after arrest). In this case, Applicant
did not make a prior inconsistent statement, whether it was during trial, or
after his arrest. He chose to remain silent after Ranger Wilson read him his

right's. However, the prosecutor's cross-examination of it's witness, his
cross-examination of the defendant, and his closing argument went far beyond

calling the jury's attention to Applicant being advised of his right to remain
silent. See (3 R.R.91)(4 R.R.86-88) & (5 R.R.29). Instead, the prosecutor,
time and time again, made references to the fact that Applicant had terminated
the interview with Ranger Wilson after he was advised of his Miranda right's, -id.


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The prosecutor's clear intent was to persuade the jury to equate the defendant's
silence with guilt. The prosecutor told the jury that had he been insane, how
would he have known to exercise his right's, id. The prosecutor told the jury
that Applicant terminated the interview with Ranger Wilson, id. The prosecutor
first erred when he introduced into the state's case in chief, prior to any

testimony from the defendant substantive evidence that the defendant chose to
remain silent on the reading of his Miranda right's given to him by ranger
Wilson, id. From the begining of it's own case, through the cross-examination
of the defendant, up until the culmination of it's final argument, the
prosecutor consistently and repeatedly sought to make impermissible
references to Applicant's silence after his arrest. See United States v.
Williams, 665 F.2d 107, 110 (6th Cir.1981)(concluding that "it is fundamentally
unfair, except in special circumstances to cross-examine a defendant about
post-Miranda silence"). The goal of Doyle is to prevent a jury from drawing
inferences of guilt from a defendant's decision to remain silent after his or
her arrest. See also Smith v. Cadagin, 902 F.2d 553, 557 at n.4 (7th Cir.),
cert, denied, 498 U.S. 865 (1990)(Doyle is intended to prohibit a prosecutor
from exploiting a defendant's post-arrest silence). An accused has a
constitutionally protected right to remain silent at those times and such
silence is not evidence of guilt. The burden always remain on the state to

prove guilt beyond a reasonable doubt. In this case, the prosecutor linked
Applicant's silence to his insainty defense, arguing that he understood what
he was doing, id. In short, Applicant's silence was used as evidence to defeat
his sole defense of not guilt by reason of insanity, id. However, by repeatedly
driving home references to Applicant's silence, and implying that Applicant
understood what he was doing, the prosecutor crossed the line. id. As
Supreme Court Justice Sutherland stated in the often cited case of Berger v.
United States, 55 S.Ct. 629 (1935)."The United States Attorney is the


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representative not of an ordinary party to a controversy, but of a
sovereignty whose obligation to govern impartially is as compelling as its
obligation to govern at all; and whose interest, therefore, in a criminal
prosecution is not that it shall win a case, but that justice shall be done.
As such, he is in a peculiar and very definite sense the servant of the law,
the two fold aim of which is that guilt shall not escape or innocence suffer.
He may prosecute with earnestness and vigor-indeed, he should do so. But,
while he may strike hard blows, he is not at liberty to strike foul ones. It
is as much his duty to refrain from improper methods calculated to produce a
wrongful conviction as it is to use every legitimate means to bring about a
just one." See also Donnelly v. DeChristoforo, 416 U.S. 637. The prosecutor's
conduct in this case was a "foul" blow that amounted to blantant and
egregious Doyle error. It is Applicant's contention that he has established
Doyle error, and because so, he thinks he is entitled to a new trial. See
Brecht v. Abrahamson, 113 S.Ct. 1710 (1993). In Brecht, the Supreme Court
found that to obtain habeas corpus relief, a petitioner alleging Doyle error

must establish that the error had a "substantial and injurious effect or

influence in determing the jury's verdict". Id. In particular, the court
noted that a state's evidence of a defendant's guilt and frequency of the

prosecutor's reference to a defendant's post-Miranda silence are factors
which should be analyzed in determining whether the Doyle error substantially
influenced the jury's verdict. Id. However, the Supreme Court has commented
that "if one cannot say, with fair assurance, that the judgment was not
substantially swayed by the error, it is impossible to conclude that
substantial rights were not affected"; Kotteakos v. United States, 328 U.S.
750 (1946), and if this,Court is in "grave doubt" as to whether this
constitutional error had any substantial effect on the jury's verdict, it must
consider the error to have been harmful, and the Applicant must win. See




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O'Neal v. McAninch, 115 S.Ct. 992 (1995). Due to the facts of this case and
the egregiousness of the prosecutor's misconduct, Applicant maintains that
this error did have a substantial influence on the jury's verdict. As stated
above, and in the writ application, the prosecutor made frequent references
to his silence throughout trial, and in the prosecutor's closing argument,
he invited the jury to equate the defendant's silence with guilt by arguing
that the defendant understood what he was doing, id. This error was not

harmless, in fact, the^proseeutor used the defendant's silence to defeat his
insanity defense, id. It is undisputed that Applicant was pursuing an insanity
defense. Finally, this egregious conduct by the prosecutor did not take place
once, but repeatedly over the course of Applicant's trial, thereby denying
him a fundamentally fair trial.

CONCLUSION

  Based on the above Applicant urges, this Court to reverse the conviction,

and vacate the sentence. Justice demands nothing less.

                               PRAYER FOR RELIEF

  For the foregoing reasons, Mr. Engle prays that the Court issue the writ,
and to vacate his conviction and sentence and order that Mr. Engle be

afforded a new trial within a reasonable time period, or be released from

custody. Applicant has been deprived of basic fundamental right's and wishes
to restore those right's back in this Court. Justice demands nothing less.

                            CERTIFICATE OF SERVICE

  I hereby certify that a copy of the above memorandum of law was sent by U.S.
postal mail to.DeWitt County District Clerk @ 307 N. Gonzales Street in Cuero,
Texas. Zip code 77954: Executed on this the 18th day of September of 2017.
Kirk Ross Engle
Rt.2 Box 4400
Gatesville,TX.76597

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   Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 96 of 101


                                  DeWitt County District Clerk
                                    307 N. Gonzales Street
                                      Cuero, Texas 77954
                                     Phone:(361)275-0931
Deputies:                            Fax No. (361)275-0934
Esther Ruiz                                                                   Leonides Vasquez
Jessie Duruisseau                                                               Jennifer Gamez
Rachael Hernandez                                                              Chelsea Kirkland




                                     September 18, 2017

Hon. Jack W. Man-                                  Mr. Robert C. Lassmann
Judge 24th Judicial District                       District Attorney
Victoria County Courthouse                         DeWitt County Courthouse
115 N. Bridge                                      Cuero, Texas 77954
Victoria, Texas 77901

                                            IN RE: Cause No. 15-11-12,329-A
                                                   24TH JUDICIAL DISTRICT
                                                   KIRK ROSS ENGLE
                                                   VS.
                                                   THE STATE OF TEXAS


Dear Gentlemen:


        Enclosed please find a copy of an Application for a Writ ofHabeas Corpus Seeking
Relief from Final Felony Conviction Under Code of Criminal Procedure, Article 11.07,
Applicant's Motion Requesting that Portions ofthe Record that's Being Reference inhis Writ
Applicant beattached Hereto for all Purposes and Memorandum Brief in Support of Writ for
Habeas Corpus filed September 18, 2017, in the above entitled and numbered cause.
                                                    Sincerely,

                                                    Tabeth Gardner
                                                    DeWitt County District Clerk
                                                    Bv (TlWtu X *VO&JSiiy *
                                                       Deputy                 O        0

TMG/lv
Enclosures


xc: Mr. Kirk Ross Engle
    TDCJ# 2051545
    Hughes Unit
    Rt. 2 Box 4400
    Gatesville, Texas 76597


Received this the    ft^day of September, 2017                   Idl^nAYWv                        gi
                                                 Robert C. Lassmann
                                                 District Attorney
Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 97 of 101



                               CAUSE N0.15-11-12.329-A




 EX PARTE                                    X       24th DISTRICT COURT

 KIRK ROSS ENGLE                             X       DEWITT COUNTY


                                             X       STATE OF TEXAS




                                         ORDER




     On this day came on to be heard the above captioned application for writ of habeas
 corpus. The court, having reviewed the application, finds that there are no controverted,
 previously unresolved facts which need to be determined. The court, therefore, orders the
 clerk to forward the application to the Court of Criminal Appeals.


    Signed this £LQ day o



                                                             PRESIDING




                                                                      TABETH GARDNERreiSrk
                                                                  Dist. Court, DeWitt County, Texas
                                                               By                              Deputy




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                                      DeWitt County District Clerk
                                        307 N. Gonzales Street
                                          Cuero, Texas 77954
                                          Phone:(361)275-0931
Deputies:                                Fax No. (361) 275-0934                               Leonides Vasquez
Esther Ruiz                                    _?{SE2te*.                                       Jennifer Gamez
Jessie Duruisseau                             ffifeM&                                         Chelsea Kirkland
Rachael Hernandez



                                          September 22, 2017


Mr. Robert C. Lassmann                                      Mr. Kirk Ross Engle
District Attorney                                           TDCJ #2051545
DeWitt County Courthouse                                    Hughes Unit
Cuero, Texas 77954                                   '      Rt. 2 Box 4400
                                                            Gatesville, Texas 76597



                                               IN RE: Cause No. 15-11-12,329-A
                                                            KIRK ROSS ENGLE
                                                            VS.
                                                            THE STATE OF TEXAS



Dear Gentlemen:

      Enclosed please find a copy of an Order on Application for Writ of Habeas Corpus signed
September 20, 2017, by the Hon. Kemper Stephen Williams in the above entitled and numbered
cause.




                                                            Sincerely,


                                                            Tabeth Gardner
                                                            DeWB
                                                              switt County
                                                                    L-ounty District
                                                                            JJistriot Clerk
                                                                                      cierK



                                                               Deputy                                (j


TMG/rh
Enclosure




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                                         CAUSE NO. 15-11-12,329-A


  KIRK ROSS ENGLE                                                               IN THE 24TH JUDICIAL


  VS.                                                                           DISTRICT OF


  THE STATE OF TEXAS                                                            DeWITT COUNTY, TEXAS




                   CLERK'S CERTIFICATE UNDER ART. 11.07. SEC. 2(c\ V.A.C.C.P.

          This is to certify that the above numbered and entitled Application for Writ of Habeas Corpus was

  filed in this court on the 18th day of September, 2017, and that a copy of said petition was served upon the

  District Attorney's Office upon the 18th day of September, 2017; that further, as clerk ofthis court, I hereby

  certify that an Order on the Application for Writ ofhabeas Corpus has been entered by the trial court with a

  35-day time limit from the filing of this petition.

          So certified this the 23^ day of October. 2017.




                                                                 TABETH GARDNER, District Clerk

                                                                 By.
feS;               \ Or.                                               Deputy




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                                                                                                          Austin, Texas by certifier.
           Case 6:18-cv-00008 Document 18-47 Filed on 07/17/18 in TXSD Page 101 of 101




                                                 CERTIFICATE




  THE STATE OF TEXAS                   X


  COUNTY OF DeWITT                     X




         I, Tabeth Gardner, Clerk of the District Court, in and for DeWitt County, Texas do hereby certifiy

  thatthe above and foregoing CLERK'S RECORD contains a true and correct copy of the proceedings had

  in Cause No's. 15-11-12,329 and 15-11-12,329-A, styled THE STATE OF TEXAS VS. KIRK ROSS ENGLE and

  KIRK ROSS ENGLE VS. THE STATE OF TEXAS, as same appears on file and/or of record in the District Court

^K DeWitt County, Texas.
         Given under my hand and seal of said Court in DeWitt County, Texas, this the 23rd day of

  October, A.D., 2017.




                                                             TABETH GARDNERTWstrret Clerk
                                                             DeWitt County, Texas

                                                             By
                                                               Deputy




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